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                                    No. 23-5110

               In the United States Court of Appeals
                       for the Tenth Circuit
               PETER POE, by and through his parents and next friends,
                       PAULA POE and PATRICK POE, et al.,
                                               Plaintiffs-Appellants,
                                          v.
                 GENTNER DRUMMOND, in his official capacity as
                 Attorney General of the State of Oklahoma, et al.,
                                                Defendants-Appellees.

   On Appeal from the U.S. District Court for the Northern District of Oklahoma,
         No. 4:23-cv-00177, Honorable John F. Heil, III, District Judge

             OPENING BRIEF FOR PLAINTIFFS-APPELLANTS

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                       STATEMENT OF RELATED CASES

        There are no prior or related appeals.




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                          STATEMENT OF JURISDICTION

        Plaintiffs’ claims arise under the Fourteenth Amendment. Plaintiffs sought

  relief under 42 U.S.C. § 1983. The district court had jurisdiction under 28 U.S.C.

  §§ 1331, 1334. The district court denied Plaintiffs’ preliminary injunction motion

  in an opinion and order issued October 5, 2023, and Plaintiffs timely filed a notice

  of appeal on October 6, 2023.       This Court has jurisdiction under 28 U.S.C.

  § 1292(a)(1).




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                            STATEMENT OF ISSUES

        1.    Does SB613 likely violate the Fourteenth Amendment’s Equal

  Protection Clause?

        2.    Does SB613 likely violate the Fourteenth Amendment’s Due Process

  Clause?

        3.    Did the district court abuse its discretion in denying Plaintiffs-

  Appellants’ preliminary injunction motion?




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                                   INTRODUCTION

        Right now, Peter Poe, Daphne Doe, Brandon Boe, Lydia Loe, and Ryan Roe–

  five transgender adolescents who just want to enjoy their childhoods and grow into

  young adults–cannot receive potentially lifesaving medical care in their home state

  of Oklahoma. These Minor Plaintiffs all suffer from severe, clinically significant

  distress without access to gender-affirming medical care to treat their gender

  dysphoria. Before treatment, they were withdrawn and depressed, several struggled

  with suicidality or self-harm, and they all struggled to envision a future for

  themselves.    Their parents and guardians decided, after careful reflection and

  consultation with medical professionals, that the benefits of evidence-based

  treatment, which their doctors recommended and all major U.S. medical

  organizations support, outweighed the risks, and they provided the requisite

  informed consent for this treatment. With care, Peter, Daphne, Brandon, Lydia, and

  Ryan began to thrive.

        But Oklahoma now bans all interventions “for the purpose of attempting to

  affirm the minor’s perception of his or her gender or biological sex, if that perception

  is inconsistent with the minor’s biological sex,” including the pubertal suppression

  and hormone therapy prescribed to the Minor Plaintiffs. SB613 does not prohibit

  those medications generally, or even for all minors. Clinicians may continue to

  prescribe pubertal suppression and hormone therapy for any other purpose, to



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  anyone of any age, except for people like the Minor Plaintiffs: transgender

  adolescents with gender dysphoria. SB613 thus takes aim at one class of people who

  need treatment for one purpose: to align their bodies with their gender identity.

        Because Oklahoma’s ban classifies on the basis of an individual’s sex and

  transgender status, it triggers heightened scrutiny. The district court erred by

  applying a lower standard of review and then, in dicta, making clearly erroneous

  factual findings based on Defendants’ discredited and unqualified experts. The

  district court further erred by failing to recognize the Parent Plaintiffs’ fundamental

  right to direct their children’s medical care, a right not constrained by medical

  interventions available at the Fourteenth Amendment’s ratification.

        Accordingly, the Court should reverse the district court’s decision and order,

  issue a preliminary injunction to preserve the status quo, and protect Plaintiffs from

  irreparable harm.

                            STATEMENT OF THE CASE

        A.     Medical Guidelines for Treating Transgender Adolescents with
               Gender Dysphoria

        Gender identity refers to a person’s core sense of belonging to a particular

  gender. J.A.(Vol.2).0179; J.A.(Vol.2).0217. Gender identity has biological roots

  and cannot be changed voluntarily, by external forces, or through medical or mental

  health intervention. J.A.(Vol.2).0179-80; J.A.(Vol.2).0217-18. A person’s gender

  identity does not always match the sex an individual was designated at birth.


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  J.A.(Vol.2).0179; J.A.(Vol.2).0218. People whose gender identity aligns with their

  sex designated at birth are cisgender (or non-transgender), while those whose gender

  identity differs from their sex designated at birth are transgender. J.A.(Vol.2).0179;

  J.A.(Vol.2).0218.

        Being transgender is not a condition to be cured. But many transgender people

  suffer from gender dysphoria, a serious medical condition characterized by clinically

  significant distress arising from the incongruence between a transgender person’s

  gender identity and sex designated at birth. If left untreated, gender dysphoria can

  result in severe anxiety, depression, self-harm, and suicide. J.A.(Vol.2).0183;

  J.A.(Vol.2).0218-19.

        Treatment for gender dysphoria is well-established and has been provided for

  decades    using    evidence-based     clinical   guidelines.      J.A.(Vol.2).0178;

  J.A.(Vol.2).0219-21. The World Professional Association for Transgender Health

  (“WPATH”) and the Endocrine Society publish these widely used clinical practice

  guidelines (the “Guidelines”). J.A.(Vol.2).0184-85; J.A.(Vol.2).0222-26. Under

  these Guidelines, gender-affirming medical care is provided to adolescents only

  when an adolescent has: (i) gender incongruence that is both marked and sustained

  over time; (ii) a gender dysphoria diagnosis; (iii) sufficient emotional and cognitive

  maturity to provide informed consent; (iv) provided informed consent with their

  parents after being informed of the potential risks of treatment, including potential


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  reproductive side effects; and (v) no mental health concerns that would interfere with

  diagnosis or treatment. J.A.(Vol.2).0187; J.A.(Vol.2).0222-24.

        For some adolescents with gender dysphoria, pubertal suppression may be

  medically indicated after the onset of puberty. Pubertal suppression is only indicated

  when, among other diagnostic criteria, the adolescent has “a long-lasting and intense

  pattern of gender nonconformity or gender dysphoria [that has] . . . worsened with

  the onset of puberty.” J.A.(Vol.2).0223. Pubertal suppression prevents gender

  dysphoria from worsening by pausing the development of secondary sex

  characteristics that are inconsistent with the patient’s gender identity.

  J.A.(Vol.2).0222. It is reversible and has no effect on fertility: once treatment stops,

  endogenous puberty resumes. J.A.(Vol.2).0222, 0226, 0231-32.

        For some older adolescents, gender-affirming hormone therapy (i.e.,

  testosterone for transgender boys and a combination of testosterone suppression and

  estrogen for transgender girls) may be medically indicated. J.A.(Vol.2).0223-24.

  Hormone therapy alleviates gender dysphoria by facilitating physiological changes

  consistent with an adolescent’s gender identity. J.A.(Vol.2.)0227-28. Under the

  Guidelines, treatment is provided only after rigorous assessments of the minor’s

  gender dysphoria and capacity to understand treatment’s risks and benefits and with

  the   informed    consent    of   parents   or   guardians.      J.A.(Vol.2).0187-89;

  J.A.(Vol.2).0225-26.


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        These medical interventions are provided to allow transgender adolescents to

  undergo puberty within the typical age range for puberty. J.A.(Vol.5).1004-05.

  These interventions greatly improve the health and wellbeing of transgender

  adolescents, as demonstrated by a substantial body of evidence, including cross-

  sectional and longitudinal studies and decades of clinical experience.

  J.A.(Vol.2).0189-90; J.A.(Vol.2).0258. Delaying treatment can result in significant

  distress, including anxiety and escalating suicidality, along with physical changes

  that can be difficult or impossible to reverse. J.A.(Vol.2).0219; J.A.(Vol.2).0258;

  J.A.(Vol.2).0376.     Interventions in adolescence, however, can dramatically

  minimize gender dysphoria later in life and eliminate the need for surgery.

  J.A.(Vol.2).0228, 0233. By contrast, the risks and side-effects of these interventions

  are rare or easily managed. J.A.(Vol.2).0232-33. The evidence supporting gender-

  affirming medical care is comparable to the evidence supporting other pediatric care,

  which is often provided without randomized controlled trials. J.A.(Vol.2).0364-66.

        B.     Oklahoma’s Ban

        On May 1, 2023, Governor Kevin Stitt signed into law SB613, categorically

  banning medical care for gender dysphoria for transgender adolescents in Oklahoma.

  SB613 prohibits any “health care provider” from “knowingly provid[ing] gender

  transition procedures to any child,” defined as “any person under eighteen (18) years

  of age.” Okla. Stat. tit. 63 § 2607.1(A)(1), (B).



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        “Gender transition procedures” are defined by an enumerated list of “medical

  or surgical services performed for the purpose of attempting to affirm the minor’s

  perception of his or her gender or biological sex, if that perception is inconsistent

  with the minor’s biological sex.” Id. § 2607.1(A)(2)(a). Prohibited procedures

  include “puberty-blocking drugs, cross-sex hormones, or other drugs to suppress or

  delay normal puberty or to promote the development of feminizing or masculinizing

  features consistent with the opposite biological sex,” and “surgical procedures that

  alter or remove physical or anatomical characteristics or features that are typical for

  the individual’s biological sex.” Id.

        SB613 excludes from its prohibition, inter alia, “medications prescribed . . .

  specifically for the purpose of treating precocious puberty or delayed puberty in that

  patient,” “services provided to individuals born with ambiguous genitalia,

  incomplete genitalia, or both male and female anatomy, or biochemically verifiable

  disorder[s] of sex development,” and treating conditions “caused by or exacerbated

  by” “gender transition procedures.” Id. § 2607.1(A)(2)(b).

        Healthcare providers who violate SB613 can be convicted of a felony and

  disciplined for unprofessional conduct by their licensing board. Id. § 2607.1(C)-(D).

        C.     Plaintiffs’ Background and Harms Imposed by SB613

        Peter Poe is a twelve-year-old transgender boy who lives in Oklahoma with

  his parents, Paula and Patrick Poe. J.A.(Vol.2).0283-84. Peter asked to use a boy’s



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  name when he was seven and came out to his parents when he was ten.

  J.A.(Vol.2).0284. As a child and young adolescent, Peter struggled with anxiety,

  thoughts of self-harm, and even suicide. He hid his body and avoided engagement

  with the world. J.A.(Vol.2).0284. Peter’s parents found him a therapist, and he was

  eventually diagnosed with gender dysphoria. J.A.(Vol.2).0289. For the past 18

  months, Peter has been receiving pubertal suppression to treat his gender dysphoria,

  J.A.(Vol.2).0289-90, and because of that treatment, he has bloomed: he is happier

  and more excited, outgoing, and social. J.A.(Vol.2).0290. When Peter’s medication

  was   delayed    for    insurance   reasons,   his   gender   dysphoria    worsened.

  J.A.(Vol.2).0290. Peter is surrounded by a supportive community, church, and

  family. J.A.(Vol.2).0290-91. But his parents worry that without treatment, he will

  once again struggle with suicidality and thoughts of self-harm. J.A.(Vol.2).0291.

        Daphne Doe is a fifteen-year-old transgender girl who lives in Oklahoma with

  her grandmother and legal guardian, Donna Doe. J.A.(Vol.2).0294-95. She has

  always known she was a girl: she “cannot imagine trying to be a boy for the rest of

  [her] life.” J.A.(Vol.2).0295. Before puberty, Daphne experienced severe anxiety

  at the prospect of undergoing changes that would make her look like a boy.

  J.A.(Vol.2).0302. She told her grandmother and her therapist that she did not want

  to go through puberty as a boy and wanted everyone to see her as a girl.

  J.A.(Vol.2).0301. When her endogenous puberty began, the changes in her body


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  made her depressed, anxious, and withdrawn, and sent her on a downward spiral.

  J.A.(Vol.2).0301-02. Daphne has been diagnosed with gender dysphoria for which

  she received pubertal suppression and later estrogen, which she has been taking for

  almost two years. J.A.(Vol.2).0302. Daphne has persevered through the suicidal

  thoughts she had before receiving this medical care; she is thriving in school and

  avoids harassment by not being public about being transgender. J.A.(Vol.2).0302-

  03. Her grandmother worries that being forced to go through male puberty will make

  her depressed, anxious, and suicidal again. J.A.(Vol.2).0303. Daphne is grateful

  she started hormones as a teenager. Not only has she experienced immediate relief

  from her dysphoria, but she also feels hopeful about the future and is relieved she

  may not have to worry about other people assuming she is transgender based on her

  appearance. J.A.(Vol.2).0297.

        Brandon Boe is a seventeen-year-old transgender boy who lives in Oklahoma

  with his parents, Benjamin and Bethany Boe. J.A.(Vol.2).0307-08. Even as a young

  child, Brandon insisted he was a boy. J.A.(Vol.2).0308. Brandon’s parents found

  him mental health counseling after he came out as transgender, and he was diagnosed

  with gender dysphoria. J.A.(Vol.2).0314. Brandon’s parents initially wanted him

  to wait for hormones until he turned eighteen, but Brandon’s increasing isolation

  made them realize that Brandon could not wait until he was an adult for medical

  treatment for his gender dysphoria. J.A.(Vol.2).0309, 0314-15. Still, Brandon was


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  in therapy for more than a year before starting testosterone. J.A.(Vol.2).0309.

  Brandon is much more confident after being on testosterone for over a year. He has

  a job and goes out with his friends, neither of which he could do before.

  J.A.(Vol.2).0309.   Brandon’s parents are cautious, conservative, and religious

  people: they deliberated for a long time and did extensive research before allowing

  Brandon to start testosterone. J.A.(Vol.2).0315-16. They are involved in this case

  because they believe they must do everything they can to protect their son.

  J.A.(Vol.2).0316.

        Lydia Loe is a seventeen-year-old transgender girl who lives in Oklahoma

  with her mother, Lauren Loe. J.A.(Vol.2).0320-21. She was raised in foster care

  and experienced significant rejection because she is transgender. J.A.(Vol.2).0321.

  Lauren became Lydia’s foster parent (and now mother) when Lydia was thirteen,

  and after a year Lydia felt comfortable enough to share who she was.

  J.A.(Vol.2).0321. After two years of counseling and over a year after she first talked

  to a doctor about hormones, Lydia started estradiol and spironolactone to treat her

  gender dysphoria. J.A.(Vol.2).0321-22, 0328. Lydia has been taking hormones for

  almost a year, and she feels better about herself and her appearance: without the

  constant fear of being misgendered, she can leave the house and feel confident.

  J.A.(Vol.2).0322. She has worked hard to be her true self, and just wants to keep

  being herself. J.A.(Vol.2).0323. Lydia’s mental health drastically declines when


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  she does not have access to her medication, however, and Lauren is worried that her

  daughter will return to suicidality and self-harm without hormone therapy.

  J.A.(Vol.2).0329.

        Ryan Roe is a fourteen-year-old transgender boy who lives in Oklahoma with

  his parents, Rachel and Richard Roe. J.A.(Vol.2).0338. Ryan never felt comfortable

  with gendered expectations, and as puberty approached, he became distressed,

  anxious, and uncomfortable. Even alone in his room, existing in his body felt

  “horrible” because of the conflict between his physiological characteristics and his

  identity. J.A.(Vol.2).0339. His parents found him a therapist; he was ultimately

  diagnosed with gender dysphoria. J.A.(Vol.2).0334, 0339. Based on his diagnosis

  and medical team’s recommendation, Ryan started pubertal suppression, which has

  alleviated his gender dysphoria and allowed him to thrive. J.A.(Vol.2).0334, 0339-

  40. Living as a boy brings Ryan joy and happiness; he is terrified about being forced

  to live in a body inconsistent with his identity. J.A.(Vol.2).0340. His mother Rachel,

  a mental health professional, has ensured that Ryan has the support of therapists, but

  it is the medical treatment for her son’s gender dysphoria that dramatically and

  positively improved his wellbeing. J.A.(Vol.2).0334. Because the family cannot

  leave Oklahoma, Rachel is considering sending Ryan to live on the East Coast with

  relatives if he cannot access medical care. J.A.(Vol.2).0335.




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                               PROCEDURAL HISTORY

        Plaintiffs filed their Complaint and Motion for Preliminary Injunction on May

  2, 2023. J.A.(Vol.1).0034; J.A.(Vol.1).0115; J.A.(Vol.1).0119. On May 18, 2023,

  the State Defendants agreed to “not enforce any provision of SB 613 in relation to

  conduct that occurs while Plaintiffs’ Motion for Preliminary Injunction is pending

  before this Court or otherwise enforce any provision of SB 613 during the pendency

  of Plaintiffs’ Motion for Preliminary Injunction,” thereby “negat[ing] Plaintiffs’

  need for expedited briefing.”      J.A.(Vol.2).0418-19.   The district court denied

  Plaintiffs’ Motion for Preliminary Injunction on October 5, 2023 (corrected on

  October 6, 2023).       J.A.(Vol.6).1230.; J.A.(Vol.6).1266.    On October 6, 2023,

  Plaintiffs timely filed a Notice of Appeal. J.A.(Vol.6).1302.

                               STANDARD OF REVIEW

        “To obtain a preliminary injunction, the movant must show: (1) a substantial

  likelihood of success on the merits; (2) irreparable harm to the movant if the

  injunction is denied; (3) the threatened injury outweighs the harm that the

  preliminary injunction may cause the opposing party; and (4) the injunction, if

  issued, will not adversely affect the public interest.” Gen. Motors Corp. v. Urb.

  Gorilla, LLC, 500 F.3d 1222, 1226 (10th Cir. 2007).

        This Court “review[s] a district court’s denial of a preliminary injunction

  under an abuse of discretion standard,” id., and “examine[s] the [district] court’s



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  factual findings for clear error and its legal conclusions de novo.” Free the Nipple-

  Fort Collins v. City of Fort Collins, 916 F.3d 792, 796–97 (10th Cir. 2019). The

  Court will disturb the trial court’s decision if it “has a definite and firm conviction

  that the lower court made a clear error of judgment or exceeded the bounds of

  permissible choice in the circumstances.” Moothart v. Bell, 21 F.3d 1499, 1504

  (10th Cir. 1994) (citation omitted).

                          SUMMARY OF THE ARGUMENT

        The district court abused its discretion by failing to issue a preliminary

  injunction. The court made several legal and factual errors.

        First, the district court applied the wrong level of scrutiny to Plaintiffs’ equal

  protection claim. Heightened scrutiny applies because SB613 classifies based on

  sex and transgender status and seeks to enforce gender conformity. Reviewed under

  the appropriate standard, SB613 is unconstitutional because it is not substantially

  related to an important government interest. Decades of scientific study and clinical

  experience establish the efficacy of gender-affirming medical care to treat adolescent

  gender dysphoria. The treatment’s benefits outweigh its risks, which are comparable

  to those present in many other types of pediatric medicine. And there is no legitimate

  state interest, let alone an exceedingly persuasive justification, in seeking to enforce

  gender conformity. SB613 fails any level of review.




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        Second, the district court erred in holding that SB613 did not impinge upon

  Parent Plaintiffs’ fundamental right to direct their children’s medical care, which is

  neither procedure-specific nor limited to the state of medicine in 1868.

        Though the district court did not address the other preliminary injunction

  factors, Plaintiffs will be irreparably harmed by the deprivation of their

  constitutional rights and the interruption in Minor Plaintiffs’ medical care. The

  balance of the equities and public interest both favor a preliminary injunction.

                                     ARGUMENT

  I.    PLAINTIFFS ARE LIKELY TO SUCCEED ON THEIR EQUAL
        PROTECTION CLAIM.

        All sex classifications warrant heightened scrutiny. See United States v.

  Virginia, 518 U.S. 515, 555 (1996) (“VMI”). By singling out for prohibition all

  treatment related to “gender transition,” SB613 classifies based on sex and

  transgender status and therefore triggers heightened equal protection scrutiny.

        Under the appropriate level of scrutiny, it is evident that Plaintiffs are likely

  to succeed on their equal protection claim. But under any standard of review,

  Oklahoma has failed to explain how banning only this form of care advances the

  interests it claims to serve. The evidentiary support for and risk associated with this

  care are comparable to many other forms of pediatric treatment.




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            A.    SB613 Triggers Heightened Scrutiny.

            SB613 is subject to heightened scrutiny for three independent reasons. First,

  SB613 facially classifies based on sex. Second, it facially classifies based on

  transgender status. And third, it purposely seeks to enforce gender conformity by

  singling out transgender people for disfavored treatment.

                  1.     SB613 classifies based on sex.

            SB613 classifies based on sex in at least two separate ways: (a) it facially

  classifies based on sex designated at birth, and (b) it facially classifies based on a

  person’s failure to identify with their sex designated at birth, i.e., their transgender

  status.

                        (a)    SB613 prohibits treatment based on a person’s sex
                               designated at birth.
            SB613 “necessarily rests on a sex classification,” Grimm v. Gloucester Cnty.

  Sch. Bd., 972 F.3d 586, 608 (4th Cir. 2020), cert. denied, 141 S. Ct. 2878 (2021), by

  prohibiting medical care when it is provided in a manner the state deems

  “inconsistent with the minor’s biological sex.” Okla. Stat. tit. 63 § 2607.1(A)(2)(a).1

  Every person to whom SB613 applies is subjected to a sex classification because

  their sex designated at birth determines whether they can receive the medical care.



  1
        In this respect, SB613 is no different from the bathroom policies in Adams by
  & through Kasper v. School Board of St. Johns County, 57 F.4th 791, 803 (11th Cir.
  2022) (en banc), and Grimm.

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  See Brandt v. Rutledge, 47 F.4th 661, 669 (8th Cir. 2022); K.C. v. Individual

  Members of Med. Licensing Bd. of Ind., 2023 WL 4054086, at *8 (S.D. Ind. June 16,

  2023), appeal filed, No. 23-2366 (7th Cir. July 12, 2023).

        The district court rejected the notion that SB613 “is discriminatory on its face

  because it makes distinctions in ‘explicit gendered terms.’” J.A.(Vol.6).1276. In its

  view, “[t]he use of these ‘gendered terms’ reflects the nature of the procedure being

  regulated, not an intention to discriminate between people of different sexes,” and

  thus does not classify based on sex. J.A.(Vol.6).1276. But a law or policy that “deals

  in explicitly gendered terms,” Kadel v. Folwell, 620 F. Supp. 3d 339, 375 (M.D.N.C.

  2022) (cleaned up), cannot be facially neutral. Indeed, SB613’s use of “gendered

  terms” is critical to how SB613 operates.

        SB613 does not just incidentally mention sex.            It explicitly imposes

  differential treatment based on an individual’s sex designated at birth. Whether a

  specific treatment is prohibited depends exclusively on whether the treatment is

  deemed consistent or inconsistent with the minor’s sex designated at birth. For

  example, an adolescent in Oklahoma designated male at birth may be prescribed

  testosterone because he is a “late bloomer” and feeling alienated from his peers.

  Brandon Boe, in contrast, cannot because he was designated female at birth. In other

  words, the law “penalizes” a person designated female at birth for the same

  “action[]” of seeking masculinizing medical treatment that it “tolerates” in persons


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  designated male at birth. Bostock v. Clayton Cnty., 140 S. Ct. 1731, 1741 (2020).2

  If the legislature cannot “writ[e] out instructions” for determining whether treatment

  is permitted “without using the words man, woman, or sex (or some synonym),” the

  law classifies based on sex. Bostock, 140 S. Ct. at 1746;3 see also Dekker v. Weida,

  2023 WL 4102243, at *11 (N.D. Fla. June 21, 2023) (“If one must know the sex of

  a person to know whether or how a provision applies to the person, the provision

  draws a line based on sex.”), appeal pending, No. 23-12155 (11th Cir. filed June 27,

  2023). SB613 necessarily classifies based on sex.

        In response, Defendants argue there are physical differences between men and

  women and that because SB613 deals with medicine (which they contend must

  consider such differences), it does not discriminate based on sex. J.A.(Vol.3).0529.

  Defendants put the cart before the horse. Their argument goes to whether SB613

  survives heightened scrutiny, not whether it classifies on the basis of sex in the first

  instance. The existence of “medical and biological realities” may provide reasons



  2
          For example, SB613 contains an explicit exception allowing for irreversible,
  sterilizing surgery on intersex infants with differences of sex development if the
  purpose of the surgery is to make the infant’s body conform to their sex designated at
  birth. See Okla. Stat. tit. 63 § 2607.1(A)(2)(b)(4).
  3
         It does not matter that Bostock was a Title VII case because its reasoning
  applies. Lower courts are “bound by more than just the express holding of a case”;
  their decisions “must comport with the ‘reasoning or theory,’ not just the holding, of
  Supreme Court decisions.” Thompson v. Hebdon, 7 F.4th 811, 827 (9th Cir. 2021)
  (citation omitted).

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  why a particular classification survives heightened scrutiny, see Nguyen v. INS, 533

  U.S. 53, 73 (2001), but it cannot be a basis for refusing to apply heightened scrutiny

  in the first place. See Miss. Univ. for Women v. Hogan, 458 U.S. 718, 724 n.9 (1982)

  (“While the validity and importance of the objective may affect the outcome of the

  analysis, the analysis itself does not change.”). The very purpose of heightened

  scrutiny is “to assure that the validity of [a sex] classification is determined through

  reasoned analysis rather than through the mechanical application of traditional, often

  inaccurate, assumptions.” Id. at 726. As this Court has explained, “in some cases, .

  . . such differences justify differential treatment. But not always.” Fort Collins, 916

  F.3d at 801.

        The district court reasoned that “[t]he Act does not use sex as a means to

  distinguish between groups” because “treatments allowed by SB 613 are allowed for

  all minors, regardless of sex,” and “all minors, regardless of sex, are prohibited from

  undergoing     certain   procedures   for    the   purpose   of   gender    transition.”

  J.A.(Vol.6).1277. But there is no exception to heightened scrutiny for sex-based

  classifications that apply equally to men as a group and women as a group. Explicit

  facial classifications “do not become legitimate on the assumption that all persons

  suffer them in equal degree.” Powers v. Ohio, 499 U.S. 400, 410 (1991) (citing

  Loving v. Virginia, 388 U.S. 1 (1967)). We do not compare the relative burdens the

  law places on people of differing sexes. Peltier v. Charter Day Sch., Inc., 37 F.4th


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  104, 125 n.13 (4th Cir. 2022), cert. denied, 143 S. Ct. 2657 (2023). Indeed, the

  Supreme Court squarely rejected this argument when it held that peremptory

  challenges could not be used to strike individual jurors based on sex. See J.E.B. v.

  Alabama, 511 U.S. 127, 141–42 (1994).

        SB613 facially classifies based on sex.

                      (b)    SB613 classifies based on a person’s transgender
                             status, which is a sex-based classification.
        SB613 also classifies based on sex because the prohibition is based on a

  person’s transgender status—that is, the incongruence between a person’s sex

  designated at birth and their gender identity. A transgender person, by definition, is

  someone whose sex designated at birth is different from their gender identity.

  J.A.(Vol.2).0179; J.A.(Vol.2).0218. And “discrimination based on . . . transgender

  status necessarily entails discrimination based on sex.” Bostock, 140 S. Ct. at 1747;

  see also Tudor v. Se. Okla. State Univ., 13 F.4th 1019, 1028 (10th Cir. 2021)

  (“[T]ransgender discrimination . . . is discrimination ‘because of sex[.]’”).

        SB613 explicitly bars “gender transition procedures” for minors. Okla. Stat.

  tit. 63 § 2607.1(B). This prohibition operates by determining whether a particular

  medical intervention is “inconsistent” with a person’s sex designated at birth. To

  know whether any given procedure is “inconsistent” with a person’s sex, a medical

  provider must know and act based on an individual’s sex as designated at birth. As




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  such, this line is based both on a person’s sex at birth, see supra section I.A.1.a, and

  the incongruence between a person’s sex designated at birth and gender identity.

         By prohibiting “gender transition,” SB613 necessarily classifies based on

  transgender status: only transgender people undergo “gender transition” to treat

  gender dysphoria. And “a person cannot suffer from gender dysphoria without

  identifying as transgender.” Fain v. Crouch, 618 F. Supp. 3d 313, 325 (S.D. W.Va.

  2022); see also C.P. v. Blue Cross Blue Shield of Ill., 2022 WL 17788148, at *6

  (W.D. Wash. Dec. 19, 2022); Kadel v. Folwell, 2022 WL 11166311, at *4

  (M.D.N.C. Oct. 19, 2022). SB613 therefore singles out medical care that only

  transgender people need or seek. See Fain, 618 F. Supp. 3d at 327; Toomey v.

  Arizona, 2019 WL 7172144, at *6 (D. Ariz. Dec. 23, 2019); Flack v. Wis. Dep’t of

  Health Servs., 328 F. Supp. 3d 931, 950 (W.D. Wis. 2018); see also J.A.(Vol.6).1281

  (finding SB613 “restrict[s] a specific course of treatment that only transgender

  individuals would normally request”).            By doing so, it classifies based on

  transgender status and therefore based on sex.

        The district court refused to apply the reasoning of Bostock (and Tudor)

  because “this case … concerns a materially different governing law, materially

  different   language,   and    materially    different    facts.”     J.A.(Vol.6).1278;

  J.A.(Vol.3).0529. But the question is not whether to import Title VII’s liability




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  standard to the Equal Protection Clause; it is whether Bostock’s reasoning as to the

  threshold classification question applies. It does.

        Bostock did not say its reasoning applies only to Title VII or suggest its

  assessment of sex classifications could not apply in other contexts. The district

  court’s limitation of Bostock “is reading quite a bit into a statement that says, in

  essence, ‘we aren’t reaching this point.’” A.C. v. Metro. Sch. Dist. of Martinsville,

  75 F.4th 760, 769 (7th Cir. 2023). Neither the district court nor Defendants can

  provide an answer for how a classification based on a failure to identify with one’s

  sex designated at birth simultaneously can be a facially sex-based classification

  under Title VII and a facially sex-neutral classification under the Equal Protection

  Clause.

        The differences between Title VII and the Equal Protection Clause center on

  whether sex discrimination is permissible,4 not whether a sex classification exists in

  the first place. The district court thus erred as it cannot “explain why or how any

  difference in language requires different standards for determining whether a facial

  classification exists in the first instance.” L.W. v. Skrmetti, 83 F.4th 460, 503 (6th

  4
         Sex discrimination under Title VII is categorically prohibited, but a sex
  classification may be permissible under the Equal Protection Clause if it satisfies
  heightened scrutiny. Cf. Students for Fair Admissions, Inc. v. President & Fellows
  of Harvard Coll., 600 U.S. 181, 308-09 (2023) (Gorsuch, J., concurring)
  (distinguishing between Title VI and Title VII’s categorical prohibitions on race and
  sex discrimination and the Equal Protection Clause’s application of strict and
  intermediate scrutiny).

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  Cir. 2023) (White, J., dissenting). “Indeed, Supreme Court decisions under Title VII

  and the Equal Protection Clause imply the opposite, often citing one another.” Id.

  The Supreme Court’s reasoning as to the classification identified in Bostock applies

  in full force here.

         Moreover, the district court’s reliance on the “different language” of Title VII

  and the Fourteenth Amendment overlooks that both unambiguously focus on

  discrimination against individuals, not groups. Compare Bostock, 140 S. Ct. at

  1740–41 (noting Title VII’s application to “any individual”), with J.E.B., 511 U.S.

  at 152 (Kennedy J., concurring), and Mojo Built, LLC v. City of Prairie Vill., 2022

  WL 288139, at *2 (10th Cir. Feb. 1, 2022) (“[I]t is well-settled the Equal Protection

  Clause protects persons, not groups.” (cleaned up)).

         Even if Bostock’s reasoning could be limited to Title VII (it cannot),

  Defendants cannot explain how to consider transgender status without considering

  sex. As other courts have found in the equal protection context, “discrimination on

  the basis of transgender status is a form of sex-based discrimination.” Hecox v.

  Little, 79 F.4th 1009, 1026 (9th Cir. 2023). Before Bostock, the Seventh Circuit

  explained that discrimination based on transgender status discriminates based on sex

  under the Equal Protection Clause because it treats people “who fail to conform to

  the sex-based stereotypes associated with their assigned sex at birth” differently

  from others. Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ., 858 F.3d


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  1034, 1051 (7th Cir. 2017), abrogated on other grounds as recognized by Ill.

  Republican Party v. Pritzker, 973 F.3d 760, 762 (7th Cir. 2020).

        The district court’s observation that “Plaintiffs do not argue that the original

  fixed meaning of . . . the equal protection guarantee covers their claims,” has no

  place in equal protection analysis. J.A.(Vol.6).1271. Heightened scrutiny applies

  to all sex classifications, regardless of whether they were commonplace at the time

  the Fourteenth Amendment was ratified. See Sessions v. Morales-Santana, 582 U.S.

  47, 57 (2017); Frontiero v. Richardson, 411 U.S. 677, 685 (1973) (plurality

  opinion).   Under the district court’s view of equal protection, no sex-based

  classification would be subject to heightened scrutiny under the Fourteenth

  Amendment.

               2.     Heightened Scrutiny Is Required for Classifications Based
                      on Sex and Transgender Status.
        Because SB613 discriminates based on sex and transgender status, SB613 is

  subject to heightened scrutiny.

        First, “all gender-based classifications . . . warrant heightened scrutiny.” VMI,

  518 U.S. at 555 (quotations omitted).

        Second, SB613 is independently subject to heightened scrutiny because it

  discriminates against transgender persons, a quasi-suspect class.         Heightened

  scrutiny is required where the government targets a class that: (1) has been

  historically “subjected to discrimination,” Bowen v. Gilliard, 483 U.S. 587, 602


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  (1987); (2) has a defining characteristic bearing no “relation to ability to perform or

  contribute to society,” City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 440–

  41 (1985); (3) has “obvious, immutable, or distinguishing characteristics that define

  them as a discrete group,” Bowen, 483 U.S. at 602 (emphasis added); and (4) is “a

  minority or politically powerless,” id. Not all considerations need point toward

  heightened scrutiny; the first two alone may be dispositive. See Windsor v. United

  States, 699 F.3d 169, 181 (2d Cir. 2012), aff’d sub nom. United States v. Windsor,

  570 U.S. 744 (2013). All four factors are present here.

        The district court refused to apply heightened scrutiny because neither the

  Supreme Court nor this Court have recognized transgender status as a suspect class.

  J.A.(Vol.6).1279-80.5 “But the lack of binding precedent does not require this Court

  to only apply rational basis review, nor does it prevent this Court from relying on

  well-reasoned opinions of non-binding courts to inform its opinion here.” Ray v.

  McCloud, 507 F. Supp. 3d 925, 938 (S.D. Ohio 2020). The failure to perform that

  analysis was error. This Court should join the Fourth and Ninth Circuits (as well as



  5
         Defendants argued below that Brown v. Zavaras, 63 F.3d 967, 971 (10th Cir.
  1995), forecloses this argument. J.A.(Vol.3).0526. But Brown disclaimed any
  answer to the heightened scrutiny question because the pro se prisoner’s allegations
  were “too conclusory to allow proper analysis.” Id. at 971. Brown made clear the
  question remained open, including because of “[r]ecent research concluding that
  sexual identity may be biological.” Id. Druley v. Patton, 601 F. App’x 632 (10th
  Cir. 2015), confirms this understanding, observing that this Court had not held that
  transgender people constitute a suspect class “[t]o date.” Id. at 635.

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  the majority of district courts) in concluding that transgender persons constitute a

  quasi-suspect class. See, e.g., Grimm, 972 F.3d at 608; Karnoski v. Trump, 926 F.3d

  1180, 1200–01 (9th Cir. 2019); Evancho v. Pine-Richland Sch. Dist., 237 F. Supp.

  3d 267, 288 (W.D. Pa. 2017); Adkins v. City of N.Y., 143 F. Supp. 3d 134, 139

  (S.D.N.Y. 2015); cf. Brandt, 47 F.4th at 670 n.4.

        As to the first and second factors, “[t]here is no denying that transgender

  individuals face discrimination, harassment, and violence because of their gender

  identity.”   Whitaker, 858 F.3d at 1051.       This discrimination is unrelated to

  transgender people’s ability to contribute to society. See Grimm, 972 F.3d at 612.

        As to the third factor, though gender identity is innate, has a biological

  underpinning, and cannot be voluntarily changed, id. at 612–13; J.A.(Vol.2).0179-

  80, “the test is broader” than immutability. Windsor, 699 F.3d at 183. It includes

  “distinguishing characteristics that define [individuals] as a discrete group.” Bowen,

  483 U.S. at 602.6 Transgender people are a distinguishable and discrete group.

        As to the fourth and final factor, transgender people are a politically powerless

  and vulnerable group. In 2023, state legislatures entertained 500+ anti-LGBTQ

  laws, over eighty-four of which became law, including prohibitions against

  mentioning transgender people in schools, accessing sex-designated facilities,

  6
         For example, illegitimacy and alienage are quasi-suspect or suspect
  classifications notwithstanding that they are not immutable. See Mills v. Habluetzel,
  456 U.S. 91, 98–99 (1982); Nyquist v. Mauclet, 432 U.S. 1, 9 n.11 (1977).

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  obtaining corrected identity documents, and, as here, the provision or coverage of

  gender-affirming medical care.7 See also Grimm, 972 F.3d at 612.

               3.      SB613 Engages in Purposeful Discrimination by Seeking to
                       Enforce Sex Stereotypes.

        Independently, SB613 is subject to heightened scrutiny because it was passed

  “because of,” not “in spite of,” its effect of enforcing generalizations about sex. See

  Pers. Adm’r of Mass. v. Feeney, 442 U.S. 256, 279 (1979). “By definition, a

  transgender individual does not conform to the sex-based stereotypes of the sex that

  he or she was assigned at birth.” Whitaker, 858 F.3d at 1048; see also Hecox, 79

  F.4th at 1033.

        SB613 explicitly enforces sex stereotypes and gender conformity by

  prohibiting medical care intended to “affirm the minor’s perception of his or her

  gender or biological sex, if that perception is inconsistent with the minor’s biological

  sex.” Okla. Stat. tit. 63 § 2607.1(A)(2)(a) (emphasis added). In other words, SB613

  purposely discriminates against transgender people by imposing traditional sex

  stereotypes. See, e.g., Bostock, 140 S. Ct. at 1742–43.8 Under SB613, a transgender


  7
         ACLU, Mapping Attacks on LGBTQ Rights in U.S. State Legislatures,
  https://www.aclu.org/legislative-attacks-on-lgbtq-rights (Nov. 9, 2023).
  8
        Imposing sex stereotypes is another reason why SB613 discriminates based
  on sex. See Smith v. Avanti, 249 F. Supp. 3d 1194, 1201 (D. Colo. 2017) (agreeing
  that “discrimination based on applying gender stereotypes to someone who was
  assigned a certain sex . . . at birth, constitutes discrimination based on sex”); Fort
  Collins, 916 F.3d at 805 (“[E]qual protection law should be particularly alert to the


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  adolescent “is required effectively to maintain [their] natal sex characteristics.”

  Boyden v. Conlin, 341 F. Supp. 3d 979, 997 (W.D. Wis. 2018).9

        “[D]isapproving [of] transgender status,” “discouraging individuals from

  pursuing their honest gender identities,” and “[d]issuading a person from

  conforming to the person’s gender identity rather than to the person’s natal sex,” are

  “plainly illegitimate purposes” that demonstrate a law was adopted for its

  “purposeful discrimination against transgender[] [people].”       Dekker, 2023 WL

  4102243, at *14; see also Order Granting Pls.’ Mot. Prelim. Inj. at 33–34, Van

  Garderen v. Montana, No. DV-23-541 (Missoula Cnty. Dist. Ct., Mont. Sept. 27,

  2023) (“It seems more likely that the SB 99’s purpose is to ban an outcome deemed

  undesirable by the Montana Legislature veiled as protection for minors.”).10

        The district court erred in concluding that “[t]he law does not further gender

  stereotypes by taking adverse actions against those who fail to conform to them.”

  J.A.(Vol.6).1279. SB613 prohibits minors from obtaining necessary medical care


  possibility of sex stereotyping in contexts where ‘real’ differences are involved,
  because these are the contexts in which sex classifications have most often been used
  to perpetuate sex-based inequality.” (citation omitted)).
  9
         SB613 enforces the notion that gender is limited to genitalia observed at birth.
  But this is not universally true. See Zzyym v. Pompeo, 958 F.3d 1014, 1024 (10th
  Cir. 2020) (recognizing that while most people are male or female, “some people are
  neither,” as in the case of an intersex person).
  10
        Available    at:     https://www.documentcloud.org/documents/23993157-
  montana-order-granting-plaintiffs-motion-for-preliminary-injunction (Nov. 9,
  2023).

                                            29
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  because it is “inconsistent with the minor’s biological sex,” alters “characteristics or

  features that are typical for the individual’s biological sex,” or “promote[s] the

  development of feminizing or masculinizing features consistent with the opposite

  biological sex.” Okla. Stat. tit. 63 § 2607.1(A)(2)(a) (emphasis added). SB613

  “tethers Plaintiffs to sex stereotypes which, as a matter of medical necessity, they

  seek to reject.” Kadel v. Folwell, 446 F. Supp. 3d 1, 14 (M.D.N.C. 2020).

        SB613 also was adopted within a broader context of Oklahoma legislation

  targeting transgender people, see supra section I.A.2, far beyond the fifteen other

  bills that sought to limit access to gender-affirming medical care.                  Contrast

  J.A.(Vol.1.)0139-40      (referring    to      and   citing     J.A.(Vol.1).0062-65)      and

  J.A.(Vol.3).0447-49 with J.A.(Vol.6).1280-81. In addition to SB 3, which Plaintiffs

  also challenge (though not part of this appeal), Oklahoma passed “laws making it

  more difficult for transgender and nonbinary people to obtain identity documents,

  laws restricting transgender youth’s ability to participate fully in schools, and laws

  banning transgender students in public and charter schools from using the restrooms

  and locker rooms that align with their gender identity.” J.A.(Vol.1).0064.

        Oklahoma        legislators’    “contemporary        statements”   also    reveal    an

  impermissible legislative purpose. Vill. of Arlington Heights v. Metro. Hous. Dev.

  Corp., 429 U.S. 252, 268 (1977); J.A.(Vol.2).0139. Lawmakers claimed transgender

  adolescents    were     “delusional     play     acting”      and   “misguided    children,”


                                                 30
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  J.A.(Vol.1).0064; J.A.(Vol.1).0139, and compared gender-affirming care to

  “starving your child to death.” J.A.(Vol.1).0064. Below, the United States filed a

  Statement of Interest documenting the purposeful discrimination behind SB613. See

  J.A.(Vol.3).0447-49.

        Given SB613’s explicit terms, legislative history, and context surrounding its

  adoption, disapproving of transgender people and enforcing state-mandated gender

  conformity was not an incidental effect of SB613; it was its purpose.

        B.     Neither Geduldig nor Dobbs Forecloses the Application of
               Heightened Scrutiny to SB613.

        Relying on Geduldig v. Aiello, 417 U.S. 484, 496 n.20 (1974), and Dobbs v.

  Jackson Women’s Health Organization, 142 S. Ct. 2228, 2235 (2022), the district

  court and Defendants say it does not matter that SB613 uses sex to prohibit treatment

  only transgender people need or seek. J.A.(Vol.6).1280-81; J.A.(Vol.3).0526. But

  neither case saves SB613 from heightened scrutiny.11

        As to equal protection, Dobbs merely restated the Supreme Court’s conclusion

  in Geduldig that classifications based on pregnancy do not automatically trigger

  heightened scrutiny even if they exclusively affect women. That conclusion does

  not resolve the level of scrutiny here. On its face, SB613 requires that a person’s



  11
        Dobbs did not create new equal protection law; it simply reiterated Geduldig’s
  holding that facially neutral regulations of medical procedures do not always receive
  heightened scrutiny simply because they disparately impact members of one sex.

                                           31
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  sex at birth be known and used to determine whether treatment is prohibited. SB613

  expressly “reference[s] a minor’s sex and gender conformity . . . and use[s] these

  factors to determine the legality of procedures.” L.W., 83 F.4th at 502 (White, J.,

  dissenting). For example, under SB613’s express terms, an adolescent can be

  prescribed testosterone to affirm a male gender identity if the minor’s sex designated

  at birth was male but not if it was female. Dobbs did not immunize all facial sex

  classifications in the healthcare context and direct that all are subject to deferential

  review. Nor did Dobbs overrule VMI’s command that all sex classifications warrant

  heightened scrutiny.     Lower courts must follow controlling Supreme Court

  precedent “even if the lower court thinks the precedent is in tension with ‘some other

  line of decisions.’” Mallory v. Norfolk S. Ry. Co., 600 U.S. 122, 136 (2023) (quoting

  Rodriguez de Quijas v. Shearson/Am. Express, Inc., 490 U.S. 477, 484 (1989)).

        The centrality of gender transition to transgender identity further distinguishes

  this case from Geduldig.       Unlike Geduldig’s pregnancy exclusion, SB613 is

  purposefully drawn to reach transgender individuals only. Pregnancy is not the

  defining characteristic of a woman, and the line in Geduldig was not drawn to limit

  care for women. But living in accord with one’s gender identity rather than sex

  designated at birth is the defining characteristic of a transgender person and the very

  thing SB613 targets: gender transition.




                                            32
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         The Supreme Court has “declined to distinguish between status and conduct”

  in analogous contexts. Christian Legal Soc’y Chapter of the Univ. of Cal., Hastings

  Coll. of the L. v. Martinez, 561 U.S. 661, 689 (2010); see also Lawrence v. Texas,

  539 U.S. 558, 583 (2003) (O’Connor, J., concurring) (Where “the conduct targeted

  by th[e] law . . . is closely correlated” with the status of being gay, the law “is targeted

  at more than conduct,” “[i]t is instead directed toward gay persons as a class.”); Bray

  v. Alexandria Women’s Health Clinic, 506 U.S. 263, 270 (1993) (“A tax on wearing

  yarmulkes is a tax on Jews.”). As such, laws singling out “gender transition” for

  differential treatment treat transgender people differently “as a class.” Williams v.

  Kincaid, 45 F.4th 759, 772 (4th Cir. 2022).

         Finally, Geduldig recognized that where distinctions are “mere pretexts

  designed to effect an invidious discrimination against the members of one [protected

  class] or the other,” they are unconstitutional. 417 U.S. at 496 n.20; see also Hecox,

  79 F.4th at 1025. Here, the legislature’s intent to treat transgender minors differently

  pervades SB613’s legislative history. See supra section I.A.3. Moreover, “[s]ome

  activities may be such an irrational object of disfavor that, if they are targeted, and

  if they also happen to be engaged in exclusively or predominantly by a particular

  class of people, an intent to disfavor that class can readily be presumed.” Bray, 506

  U.S. at 270. Although the district court found “there is no evidence of pretext for




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  discrimination,” J.A.(Vol.6).1281, this legal conclusion was in error.12 SB613 is

  plain: care is prohibited only for purposes of “gender transition.” That is enough to

  show intent without any additional finding of animus.

        C.     Tested Under the Proper Legal Standards, SB613 Fails to Survive
               Scrutiny.

        Because SB613 is subject to heightened scrutiny, Defendants must, at a

  minimum, provide an “exceedingly persuasive justification” for SB613’s

  classifications. VMI, 518 U.S. at 531. Oklahoma must demonstrate a “close means-

  end fit” that does not “classify unnecessarily and overbroadly by gender when more

  accurate and impartial lines can be drawn.” Sessions, 582 U.S. at 63 n.13, 68. The

  “burden of justification is demanding”—not “deferential”—and it “rests entirely on

  the State.” VMI, 518 U.S. at 533, 555. Oklahoma cannot satisfy this standard.

        The district court erred in finding that SB613 likely survives equal protection

  scrutiny. The record does not support the State’s justifications for SB613. The

  district court’s findings to the contrary, which were dicta given the court’s

  application of the incorrect legal standard, were clearly erroneous.




  12
        To the extent the Court considers that finding to be factual, which is clearly
  erroneous given the evidence, it is a legislative fact that this Court can assess de
  novo. See infra section I.C.1.

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               1.     This Court should not defer to the district court’s factual
                      findings.
        This Court should not defer to the district court’s factual findings for three

  independent reasons. First, the court’s discussion of the facts is dicta. Second, the

  district court abused its discretion by failing to properly consider the evidence.

  Third, this Court can independently make findings as to legislative facts without the

  typical deference afforded to a lower court’s factfinding.

                      (a)    The district court’s factual findings were dicta.

         The district court’s factfinding is dicta because the court used the wrong legal

  standard. The court explained that under rational basis review, the law would be

  constitutional based on “nothing more than [the court’s] own rational speculation.”

  J.A.(Vol.6).1293. The district court’s subsequent discussion of the facts is dicta as

  it was “not necessarily involved nor essential to determination of the case at hand.”

  Rohrbaugh v. Celotex Corp., 53 F.3d 1181, 1184 (10th Cir. 1995) (citation omitted).

  Once the court conceded that any factual findings were extraneous to its ultimate

  holding that SB613 satisfied rational basis review, all its factual findings became

  superfluous. See, e.g., United States v. Weeden, 117 F.3d 1429 (Table), 1997 WL

  375345, at *1 n.1 (10th Cir. 1997) (determining that a statement was dicta based on

  the prior court’s “caveat” in its decision that the approach discussed was not urged

  by either party).




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                      (b)    The district court failed to properly consider and
                             weigh the evidence proffered by Plaintiffs’ experts and
                             gave improper weight to Defendants’ experts.

        In addition, the district court abused its discretion by ignoring the evidence

  Plaintiffs submitted and relying exclusively on the evidence Defendants presented.

  This error permeates the entire opinion and infects most, if not all, of the court’s

  factual findings.

        Circuit courts, including this one, have explained in a variety of contexts that

  failing to consider or overlooking evidence amounts to an abuse of discretion. See,

  e.g., James v. Eli, 889 F.3d 320, 328 (7th Cir. 2018); Shardar v. Att’y Gen., 503 F.3d

  308, 315 (3d Cir. 2007); Golub v. Sec’y of Health & Hum. Servs., 243 F.3d 561

  (Table), 2000 WL 1471643, at *3 (Fed. Cir. 2000); Dulane v. INS., 46 F.3d 988, 996

  (10th Cir. 1995).

        Plaintiffs presented ample evidence from qualified experts who have

  collectively worked with over a thousand youths with gender dysphoria and

  conducted extensive research in this area: Dr. Deanna Adkins, a pediatric

  endocrinologist; Dr. Aron Janssen, a child and adolescent psychiatrist; Dr. Jack

  Turban, a child and adolescent psychiatrist and researcher; and Dr. Armand

  Antommaria, a pediatrician and bioethicist. See J.A.(Vol.2).0173; J.A.(Vol.2).0214;

  J.A.(Vol.2).0253;       J.A.(Vol.2).0356;        J.A.(Vol.5).0980;    J.A.(Vol.5).1000;

  J.A.(Vol.5).1019; J.A.(Vol.5).1043. These experts have been found to be qualified



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  and relied upon by numerous courts. See, e.g., Dekker, 2023 WL 4102243, at *8

  (crediting the testimony of Drs. Antommaria and Janssen and finding them to be

  “well-qualified”); Brandt v. Rutledge, 2023 WL 4073727, at *27 (E.D. Ark. June

  20, 2023) (finding Drs. Adkins, Turban, and Antommaria to “have deep knowledge

  of the subject matter of their testimony,” to be “fully qualified,” and to “have

  provided credible and reliable testimony”); Adams by & through Kasper v. Sch. Bd.

  of St. Johns Cnty., 318 F. Supp. 3d 1293, 1298 n.12 (M.D. Fla. 2018) (finding Dr.

  Adkins qualified and her testimony reliable), vacated on other grounds, 57 F.4th

  791. No court has found their testimony to lack credibility.

        By contrast, Defendants provided declarations from individuals with no

  experience providing or even studying gender-affirming medical care for

  transgender minors.      See J.A.(Vol.3).0541; J.A.(Vol.4).0727; J.A.(Vol.5).0802;

  J.A.(Vol.5).0882;       J.A.(Vol.6).1137;        J.A.(Vol.6).1169;    J.A.(Vol.6).1222;

  J.A.(Vol.6).1227. Indeed, multiple courts have discredited or given little to no

  weight to several of the State’s purported experts based on their lack of clinical or

  research experience treating gender dysphoria. See, e.g., Koe v. Noggle, 2023 WL

  5339281, at *21 n.28 (N.D. Ga. Aug. 20, 2023) (assigning “Dr. Cantor’s views less

  weight” in part because “[h]e is not a physician and has no experience treating

  gender dysphoria in youth as such”); L.W. v. Skrmetti, 2023 WL 4232308, at *20

  (M.D. Tenn. June 28, 2023) (same), rev’d and remanded on other grounds, 83 F.4th


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  460; id. at *20 n.40, 25 n.48 (noting courts’ skepticism about Dr. Laidlaw’s

  testimony and finding his testimony “unpersuasive”); Eknes-Tucker v. Marshall, 603

  F. Supp. 3d 1131, 1142–43 (M.D. Ala. 2022) (giving Dr. Cantor’s “testimony

  regarding the treatment of gender dysphoria in minors very little weight”), vacated

  on other grounds, 80 F.4th 1205 (11th Cir. 2023); C.P. v. Blue Cross Blue Shield of

  Ill., 2022 WL 17092846, at *4 (W.D. Wash. Nov. 21, 2022) (noting it was a “close

  question” as to whether Dr. Laidlaw was qualified given his lack of clinical and

  research experience).      Defendants’ other purported experts (Drs. Harris and

  Thompson) fare no better as they similarly have no experience treating or diagnosing

  gender dysphoria in adolescents or adults. See J.A.(Vol.5).0967-68.

          Despite their lack of clinical and research experience, which Plaintiffs raised

  below     (see   J.A.(Vol.5).0967-68),    and   without    making     any    credibility

  determinations, the district court relied solely upon the testimony of Defendants’

  purported experts to make its purported factual findings and ignored the evidence

  Plaintiffs submitted, even after determining that no courtroom factfinding was

  necessary because rational basis would apply.13 Although a court has discretion to


  13
        The district court cited to Defendants’ experts over thirty times. See generally
  J.A.(Vol.6).1266. In contrast, the district court cited to Plaintiffs’ experts only four
  times and only for basic propositions like “gender dysphoria is a psychological
  diagnosis” and “being transgender or gender nonconforming is not a medical
  condition or pathology to be treated.” J.A.(Vol.6).1295, 1299. This is not
  meaningful engagement with or consideration of Plaintiffs’ evidence, especially


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  ascertain the credibility of experts and reject or accept expert testimony, it may not

  arbitrarily fail to engage with such testimony or ignore it. See Quintana-Ruiz v.

  Hyundai Motor Corp., 303 F.3d 62, 76–77 (1st Cir. 2002); In re Wolverton Assocs.,

  909 F.2d 1286, 1296 (9th Cir. 1990) (factfinder “may not act arbitrarily in

  disregarding entirely probable testimony of expert witnesses whose judgments have

  not been discredited”); see also Allfirst Bank v. Progress Rail Servs. Corp., 521 F.

  App’x 122, 129 (4th Cir. 2013).

        In sum, the district court’s approach to the evidence was “arbitrary, capricious,

  whimsical, [and] manifestly unreasonable.” Planned Parenthood of Kan. v.

  Andersen, 882 F.3d 1205, 1223 (10th Cir. 2018). As such, it abused its discretion

  and made erroneous factual findings, albeit in dicta.

                     (c)    This Court can make independent findings as to
                            legislative facts.
        Finally, this Court can independently find or judicially notice that WPATH

  and the Endocrine Society promulgate guidelines supported by clinical experience

  and research and that every major U.S. medical association publicly supports

  providing such care to adolescents with gender dysphoria.            J.A.(Vol.2).0220;

  J.A.(Vol.2).0185; J.A.(Vol.5).1021. See United States v. Iverson, 818 F.3d 1015,

  1031 (10th Cir. 2016) (O’Brien, J., concurring). The status and reliability of certain


  absent explanation as to why the court relied upon Defendants’ far less qualified or
  experienced experts.

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  scientific evidence are appropriate subjects of legislative factfinding and not

  contested here. See United States v. Hunt, 63 F.4th 1229, 1250–51 (10th Cir. 2023)

  (noting in the context of firearm toolmark examinations’ reliability, “[w]hen the

  resolution of a dispute turns on legislative facts, courts regularly relax the restrictions

  on judicial inquiry”).        Legislative facts “are established truth, facts or

  pronouncements that do not change from case to case but apply universally.” United

  States v. Wolny, 133 F.3d 758, 764 (10th Cir. 1998) (citation omitted). “[W]henever

  a tribunal engages in the creation of law or of policy, it may need to resort to

  legislative facts, whether or not those facts have been developed on the record.”

  Iverson, 818 F.3d at 1030 (O’Brien, J., concurring) (quoting United States v. Gould,

  536 F.2d 216, 219–20 (8th Cir. 1976)).

                2.     None of the State’s Proffered Justifications Amounts to an
                       Exceedingly Persuasive Justification for the Law’s
                       Categorical Ban on Treatment.
         SB613 fails heightened scrutiny because it does not substantially advance any

  important governmental interest.       None of the Defendants’ criticisms justifies

  singling out only gender-affirming medical treatment for transgender adolescents for

  categorical prohibition. The district court’s citations do not support the propositions

  for which they are used, and the district court’s findings, which are dicta in any

  event, are manifestly incorrect considering the full record below and Defendants’

  putative experts’ comparative lack of credibility. To the extent the district court’s



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  factual findings are subject to clear error review, the Court can and should conclude

  that “a mistake has been committed.” Anderson v. City of Bessemer City, 470 U.S.

  564, 573 (1985) (citation omitted).

                        (a)     SB613 is not justified by claims that the prohibited
                                treatment is “experimental.”

        The record does not support Defendants’ claim that gender-affirming medical

  care to treat gender dysphoria in minors is “experimental” treatment that justifies a

  categorical prohibition. And even if the banned care were experimental in nature

  (which it is not), that does not explain why Oklahoma bans only this treatment.

        The    “level     of     evidence   supporting   clinical   practice   guidelines

  recommendations regarding gender-affirming medical care for adolescents is

  comparable to the level of evidence supporting many other pediatric medical

  treatments.” J.A.(Vol.2).0366. It is not “new, novel, or unproven,” and it “is

  intended to benefit individual patients and is modified based on individual patients’

  responses.” J.A.(Vol.2).0366-67. That is the difference between clinical practice,

  where the goal is to “benefit individual patients and [the] method is individualized

  decision-making,” and research or experimentation, where the goal “is to contribute

  to generalizable knowledge” through “formal protocols that describe [the] objectives

  and procedures.” J.A.(Vol.2).0361. Treatments are not considered “experimental”

  even if the clinical guidelines recommending those treatments are not based on

  randomized controlled trials: for example, the use of GnRHa to treat precocious


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  puberty is not considered experimental—it is FDA approved and widely used in

  clinical practice—but that use is based entirely on observational studies and not

  randomized controlled trials. J.A.(Vol.5).1046-48.

        It was clear error for the district court to find that “the experimental phase has

  truly not yet begun” for gender-affirming care, and it is therefore not “proven” or

  “established.” J.A.(Vol.6).1291. The district court invented a new definition of

  “experimental” that the record does not support.           The banned care “is not

  experimental in either the colloquial or the technical sense.” J.A.(Vol.2).0366.

  Defendants complain there are insufficient long-term studies documenting the

  evidence of efficacy of treatment. That assertion is not accurate, and the district

  court erred in concluding there is “scant information” about the long-term use of the

  banned    treatment.       J.A.(Vol.6).1298      (citing   J.A.(Vol.4).0746,      0752;

  J.A.(Vol.5).0840).

        Although Defendants criticize the evidence supporting the efficacy of the

  banned care, they offer no alternative treatment supported by any evidence, let alone

  evidence comparable to that supporting gender-affirming medical interventions.

  Doctors must make decisions today about how to treat individual patients.

  Defendants do not dispute that (1) every major medical association in the United

  States supports the banned care; (2) multiple observational and cross-sectional




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  studies support the care; and (3) the banned care is the only evidence-based treatment

  available.

                     (b)    SB613 is not justified by the existence of potential risks
                            and side effects of the proscribed treatment.

        That the banned treatment carries potential side effects and risks does not

  materially distinguish it from other treatments and cannot justify SB613. The

  overwhelming weight of the evidence shows that the potential risk of harm from

  pubertal suppression and hormone therapy is rare when provided under medical

  supervision. The district court clearly erred in concluding otherwise.

        The record evidence conclusively demonstrates that gender-affirming medical

  treatment for adolescents with gender dysphoria is not uniquely risky. Though

  Defendants’ putative experts highlight a litany of possible side effects of treatment,

  they never quantify the prevalence of those risks. What is more, they lack first-hand

  knowledge: none have meaningful clinical experience treating youth with gender

  dysphoria or relevant original research experience. Plaintiffs’ experts, however,

  have treated a thousand adolescent patients with gender dysphoria and explain that

  side effects are rare. See, e.g., J.A.(Vol.5).1012-13. Further, that the treatments at

  issue carry risk is not sufficient to justify SB613.            J.A.(Vol.2).0268-69;

  J.A.(Vol.2).0358, 0379-80. All medical care carries risks, but SB613 targets certain

  established treatments when used by a particular population for a particular purpose.

  Indeed, SB613 is grossly underinclusive in this regard because the same treatments


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  remain available for other purposes and carry comparable risks. J.A.(Vol.2).0230-

  31; J.A.(Vol.5).1009, 1013; J.A.(Vol.5).1061.

        The district court’s specific factual findings about risk are clearly erroneous.

  The court found that minors with gender dysphoria “face risks that are different and

  more extensive than those minors who would use the same protocols for other

  diagnoses.” J.A.(Vol.6).1296. But the court offered no record citation in support of

  this finding, and there is none. Rather, the evidence demonstrates that the risks

  related to pubertal suppression do not vary based on the conditions they are

  prescribed to treat, and youth with gender dysphoria use pubertal suppression for a

  comparably shorter period than those treated for precocious                   puberty.

  J.A.(Vol.2).0228, 0231.

        Timing of Puberty. The use of pubertal suppression to treat gender dysphoria

  does not cause puberty to occur beyond what is typical, and the medication is not

  used for longer periods of time to treat gender dysphoria than other conditions.

  There is no factual support for the conclusion that pubertal suppression for gender

  dysphoria is prescribed “with the intent and effect of undergoing puberty later than

  it would be physically appropriate to do so” or “later than the typical range.”

  J.A.(Vol.6).1296 (citing J.A.(Vol.4).0576). Pubertal suppression is not used to delay

  puberty in adolescents with gender dysphoria beyond the typical age range, which

  already has a “very wide age variation among individuals.” J.A.(Vol.5).1004.


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  Gender dysphoria treatment protocols would tend to put adolescents in the latter

  third but “nothing outside of the typical range” for puberty. J.A.(Vol.5).1004-05;

  J.A.(Vol.2).0227-28. The district court erred in relying on the unsupported (and

  incorrect) assertion that pubertal suppression is used to “push[]” adolescents with

  gender dysphoria “away from the mean age of the healthy population” or turn them

  into “very late-bloomers.” J.A.(Vol.4).0576. Rather, “[m]any peers will have

  comparably timed or later puberty” than adolescents treated for gender dysphoria,

  and no data supports the assumption that there are short- or long-term social and

  developmental consequences for delaying puberty until the latter third of the typical

  range. J.A.(Vol.5).1005.

        Bone Health.      Though Defendants’ putative experts suggest that using

  pubertal suppression to treat gender dysphoria poses a substantial risk to bone health,

  the record does not support such claims.        To the contrary, adolescents on pubertal

  suppression continue to accrue bone density, just at a pre-pubertal rate, and once a

  patient begins endogenous puberty or hormone therapy, their bone structure and

  strength increases.     J.A.(Vol.5).1006-07.       The district court deferred to an

  unqualified expert’s parroting of a New York Times article—not even a summary of

  an article in a medical journal—that incorrectly suggested the effects of pubertal

  suppression on bone density are unknown. J.A.(Vol.4).0641-43. The district court

  also erred in relying on another unqualified expert’s speculation that pubertal


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  suppression uniquely predisposes adolescents with gender dysphoria to future

  osteoporosis. J.A.(Vol.4).0748-49. There is no evidence for this assertion. Dr.

  Adkins explained that “we have been using puberty blockers to treat patients with

  precocious puberty for over 30 years and have not observed these long-term effects”

  that Defendants’ purported experts hypothesize. J.A.(Vol.5).1007. That during

  treatment, patients prescribed pubertal suppression accrue bone density at a lower

  rate does not justify a ban on such treatment, particularly given that there is no

  evidence of long-term harm from this reduced bone density accrual rate, while there

  is substantial evidence of the benefits of treatment and the harm from withholding

  treatment.

        Executive function. The district court further erred when it found that pubertal

  suppression carries “a range of risks, including impaired brain development and

  poorer psychosocial and educational development.”           J.A.(Vol.6).1296 (citing

  J.A.(Vol.4).0639-40; J.A.(Vol.4).0751; J.A.(Vol.5).0808; J.A.(Vol.4).0641). Over

  thirty years of data support the safety and efficacy of using pubertal suppression to

  treat precocious puberty, and more than twenty years of data support treatment for

  gender dysphoria. J.A.(Vol.2).0229; J.A.(Vol.5).1004. No scientific evidence

  shows short- or long-term negative effects on patients that outweigh the benefits of

  treatment. J.A.(Vol.2).0229. The district court erred in relying on speculation to the

  contrary, such as studies of “non-transsexual males” and “adult biological women”


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  and correlations between naturally occurring very late puberty and some negative

  health metrics, J.A.(Vol.4).0640-41, or “animal models” for alleged effects on IQ

  and spatial memory. J.A.(Vol.5).0807-08. The district court clearly erred in relying

  on those suppositions instead of the decades of data showing the safety and efficacy

  of this treatment for patients with precocious puberty or gender dysphoria.

  J.A.(Vol.5).1004.

        Fertility. Though Defendants’ purported experts attempt to justify SB613

  through incendiary claims about sterilization, the reality is that “[p]ubertal

  suppression on its own has no impact on fertility” and the argument that “treatment

  is automatically sterilizing . . . is not accurate.” J.A.(Vol.2).0231. It was clear error

  to find that puberty suppression causes “immediate[] . . . infertility.”

  J.A.(Vol.6).1298 (citing J.A.(Vol.4).0746, 0748; J.A.(Vol.5).0840). The district

  court clearly erred in relying on the assertion that “continuous administration of

  GnRHa makes the full maturation of the gametes impossible” to support its finding

  regarding infertility. J.A.(Vol.1).083. First, pubertal suppression is reversible.

  J.A.(Vol.2).0222. Second, it pauses puberty “only for the duration of the treatment,”

  i.e., until an adolescent resumes endogenous puberty or, if medically indicated,

  begins gender-affirming hormone therapy. J.A.(Vol.2).0222. Third, adolescents

  may, even after pubertal suppression, resume their endogenous puberty if generating

  gametes is of particular importance. See, e.g., J.A.(Vol.5).1014-15.


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        Desistance. The district court clearly erred in determining that the banned

  treatment “altered natural desistance rates, such that puberty blockers, rather than

  operating as a ‘pause button,’ are instead a ‘pathway towards future sterilizing

  surgeries.’” J.A.(Vol.6).1298 (citing J.A.(Vol.4).0752). The only support for that

  clearly erroneous factual finding is the declaration of Dr. Laidlaw, who purported to

  rely on the de Vries, et al. studies from 2011 and 2014. J.A.(Vol.6).1298. But those

  studies demonstrate that “given the comprehensive biopsychosocial mental health

  assessment that is done prior to starting gender-affirming medical interventions

  under current guidelines, the adolescents who started pubertal suppression were

  those who were, through medical and mental health screening, determined, prior to

  starting pubertal suppression, to have a low likelihood of future desistence in their

  transgender identity.” J.A.(Vol.5).1033-34. In other words, most adolescents who

  begin treatment continue treatment because it is prescribed to the right group of

  people, not because it is making people transgender.

                     (c)    SB613 is not justified by gender dysphoria’s diagnostic
                            process.
        The district court clearly erred when it found “there is no evidence that a

  diagnosis of gender dysphoria can be confirmed by any objective measurement or

  testing protocol.” J.A.(Vol.6).1294 (citing J.A.(Vol.4).0666-67 and purporting to

  cite J.A.(Vol.5).1046). Psychiatric diagnoses like gender dysphoria indisputably

  rely on objective diagnostic criteria. Gender dysphoria is a diagnosis, like other


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  psychiatric diagnoses, made using objective criteria set forth in the American

  Psychiatric Association’s Diagnostic and Statistical Manual of Mental Disorders,

  Fifth Edition, Text Revision (DSM-5-TR). J.A.(Vol.2).0181-82; J.A.(Vol.5).1045.

  The district court erroneously conflated gender dysphoria—a recognized diagnosis

  that can be ascertained by a qualified clinician using objective criteria—with gender

  identity, which is a person’s core understanding of their gender. J.A.(Vol.2).0176-

  77.

        To support its erroneous finding, the district court pointed to Dr.

  Antommaria’s acknowledgement that gender dysphoria is a diagnosis in the DSM-

  5-TR. J.A.(Vol.6).1294 (citing J.A.(Vol.5).1045). That does not support finding a

  lack of objective diagnostic criteria. To the contrary, inclusion in the DSM-5-TR

  necessarily means that clinicians can apply diagnostic criteria in their practice. The

  district court erroneously relied on the assertion that psychiatric conditions lack “any

  measurable, physical features to distinguish it objectively from a healthy state.”

  J.A.(Vol.4).667. Psychiatric diagnoses, like gender dysphoria, are no “less real” or

  “any less severe” merely because their “physical” location is the brain.

  J.A.(Vol.5).1045. That a psychiatric condition lacks a physical manifestation does

  not mean that it lacks objective criteria for diagnosis. The district court’s error was

  compounded by the erroneous distinction between “physiological condition[s]” and

  “psychological one[s].”       J.A.(Vol.6).1294.     Although “most mental health


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  conditions,” including gender dysphoria, rely on “patients’ reports of their symptoms

  and [are] not confirmed by laboratory or radiographic testing,” that is also true of

  “some       non-mental     health   conditions,”   including   migraine    headaches.

  J.A.(Vol.5).1046. No laboratory test can prove whether someone suffers from

  gender dysphoria or migraine headaches, but a clinician can objectively diagnose

  gender dysphoria or migraine headaches based, inter alia, on a patient’s report, a

  patient’s history, and clinical interviews.

                       (d)    Gender conformity is not an important state interest
                              sufficient for heightened scrutiny.
          Finally, Defendants essentially claim that the government has a legitimate

  interest in ensuring that adolescents assigned female at birth will develop and retain

  the secondary sex characteristics typically associated with women and vice versa for

  those assigned male. The district court erred in two separate ways by crediting this

  interest.

          First, the district court conflated transgender identity (a naturally occurring

  variation in gender identity) with gender dysphoria (a serious medical condition).

  Compare J.A.(Vol.6).1299 with J.A.(Vol.2).0219. The court found that “[t]he

  legislature’s decision to permit minors to have access to the Treatment Protocols for

  medical disorders that can be cured or corrected, but not to permit the same protocols

  (with greater associated risk) to treat a condition for which no “cure” is sought, is a

  rational one.” J.A.(Vol.6).1299 (emphasis added). But the court’s phrasing betrays


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  the flaw in its analysis. Being transgender is not a condition to be cured. But gender

  dysphoria, a serious medical condition that transgender people can have, can be

  treated or ameliorated through the banned treatment.               J.A.(Vol.2).0234;

  J.A.(Vol.2).0186, 0191-92. That is the whole point of Plaintiffs’ lawsuit: Oklahoma

  banned the only evidence-based interventions for gender dysphoria, a serious

  condition that can be treated and even cured.

        Second, the district court impermissibly credited gender conformity as a

  legitimate or important state interest by finding that SB613 only permitted

  comparable interventions for “diseased or disordered” states, when in fact SB613

  allows non-transgender adolescents to undertake “cosmetic” treatments so long as

  the phenotypic results are consistent with a person’s assigned sex. SB613 is not

  rationally related to a limitation on treating physical diseases or disorders.

  J.A.(Vol.6).1299. SB613 contains no such limitation:14 it does not prohibit any

  interventions “for the purpose of attempting to affirm the minor’s perception of his

  or her gender or biological sex” when that perception aligns with the minor’s

  biological sex, only when it is “inconsistent.” Okla. Stat. tit. 63 § 2607.1(A)(2)(a).

  Although SB613 contains an explicit carve-out for certain disorders of sex

  development, see id. § 2607.1(A)(2)(b)(4), the prohibition is based on congruence

  14
         To the extent that the district court’s finding was a conclusion of law, this
  Court owes it no deference and may decide the issue de novo. See Stokes v. United
  States, 967 F.3d 1034, 1043 (10th Cir. 2020).

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  or incongruence, not healthy or diseased states. For example, natural development

  processes for non-transgender adolescents may result in being short, being a late

  bloomer, having small breasts, or having a patchy beard. Under SB613, those are

  all matters for which an adolescent could seek hormonal treatment or surgery to

  address, even if there was no disease or disorder. Non-transgender adolescents can,

  under SB613, use pubertal suppression, estrogen, testosterone, or surgery to alter

  their appearances, even if they suffer from no medical condition but merely wish to

  appear more stereotypically feminine or masculine.         It is only transgender

  adolescents who are prevented from altering their appearances to relieve the

  clinically significant distress resulting from the incongruence between their

  secondary sex characteristics and their gender identity, even when they have been

  diagnosed with gender dysphoria, a serious medical condition.

        SB613 fails heightened scrutiny, as it is grossly underinclusive, lacks a

  rational relationship with Oklahoma’s asserted interests, has no evidentiary basis,

  and is improperly aimed at enforcing gender conformity.

        D.    SB613 Fails Any Level of Review.

        Although SB613 is properly subject to heightened scrutiny, it ultimately fails

  any level of review.    There is no rational basis for concluding that allowing

  adolescents with gender dysphoria to receive gender-affirming medical care that

  they, their parents, and their doctors agree is medically necessary “would threaten



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  legitimate interests of [Oklahoma] in a way that” allowing other types of care “would

  not.” Cleburne, 473 U.S. at 448; see also Eisenstadt v. Baird, 405 U.S. 438, 452

  (1972) (health risks of birth control pills not a rational basis for banning access for

  unmarried people only); Bd. of Trs. of Univ. of Ala. v. Garrett, 531 U.S. 356, 366

  n.4 (2001).

        SB613 furthers no legitimate interest. What the law does is “so far removed

  from [the asserted] justifications that … it [is] impossible to credit them.” Romer v.

  Evans, 517 U.S. 620, 635 (1996). Rather than protect children, SB613 harms them.

  SB613’s improper motive of gender conformity arose, at a minimum, from

  “insensitivity caused by simple want of careful, rational reflection or from some

  instinctive mechanism to guard against people who appear to be different in some

  respects from ourselves.” Garrett, 531 U.S. at 374 (Kennedy, J., concurring).

  SB613 therefore fails any level of review.

  II.   PLAINTIFFS ARE LIKELY TO SUCCEED ON THEIR
        SUBSTANTIVE DUE PROCESS CLAIM.

        SB613 impinges on Parent Plaintiffs’ fundamental right to make medical

  decisions for their minor children, particularly when supported by the independent

  judgment of a consulting physician and with the minor’s consent. Furthermore,

  SB613 is not a narrowly tailored means of vindicating a compelling state interest.

  Fundamental parental rights include “some level of protection for parents’ decisions

  regarding their children’s medical care.” PJ ex rel. Jensen v. Wagner, 603 F.3d


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  1182, 1197 (10th Cir. 2010) (citing Parham v. J.R., 442 U.S. 584, 604 (1979)); see

  also Dubbs v. Head Start, Inc., 336 F.3d 1194, 1203 (10th Cir. 2003). In upholding

  a statute permitting parents to involuntarily commit their children to psychiatric

  institutions, the Supreme Court held that parents, not the government, have “plenary

  authority” in the usual course to make decisions concerning their children’s

  healthcare and to “recognize symptoms of illness and to seek and follow medical

  advice” for their children. Parham, 442 U.S. at 602. “Neither state officials nor

  federal courts are equipped to review such parental decisions.” Id. at 604.

        In the light of parents’ broad right to make medical decisions for their minor

  children, the district court erred when it adopted Defendants’ hyper-specific framing

  of the right as “a fundamental right for parents to choose for their children to use

  puberty blockers, cross-sex hormones, and surgeries for the purposes of effectuating

  a gender transition.” J.A.(Vol.6).1288. Fundamental rights are “carefully defined,”

  J.A.(Vol.6).1288-89 (citing Washington v. Glucksberg, 521 U.S. 702, 721 (1997)),

  but not microscopically so. See Obergefell v. Hodges, 576 U.S. 644, 671 (2015)

  (“Loving did not ask about a ‘right to interracial marriage’; Turner did not ask about

  a ‘right of inmates to marry’; and Zablocki did not ask about a ‘right of fathers with

  unpaid child support duties to marry.’ Rather, each case inquired about the right to

  marry in its comprehensive sense . . . .”); Kitchen v. Herbert, 755 F.3d 1193, 1209–

  10 (10th Cir. 2014). The district court’s narrow definition cannot be reconciled with


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  parents’ plenary “authority to decide what is best for the child” in the medical

  context generally. Parham, 442 U.S. at 602, 604 (parents have the right “to

  recognize symptoms of illness and to seek and follow medical advice” on behalf of

  their children, including procuring “a tonsillectomy, appendectomy, or other medical

  procedure”).

        Relying on Dobbs, the district court demanded that Parent Plaintiffs

  demonstrate they have a “deeply rooted” right tethered to a specific treatment. This

  is inconsistent with Parham’s framing of the parental right as one to make medical

  decisions on behalf of their children.15 The district court’s reliance on Dobbs is

  further erroneous because the Supreme Court’s instruction is unambiguous:

  “Nothing in this opinion should be understood to cast doubt on precedents that do

  not concern abortion.” Dobbs, 142 S. Ct. 2228 at 2277–78 (2022); id. at 2309

  (Kavanaugh, J., concurring).

        The district court purported to distinguish Parham on the grounds that it

  involved procedural due process, not a substantive due process claim. But the

  15
          A condition-specific interpretation would circumscribe the right based on
  whether the intervention was available and widely recognized at the time of the
  Fourteenth Amendment’s ratification. See Timbs v. Indiana, 139 S. Ct. 682, 687–
  89 (2019) (examining whether the right to be free from excessive fines was widely
  recognized in 1868); Glucksberg, 521 U.S. at 711, 722–25 (same with respect to
  assisted suicide). That would leave parents with the fundamental right to vaccinate
  their children against smallpox, but not polio; to amputate infected limbs, but not to
  treat with antibiotics; and categorically exclude treatments for illnesses like ADHD,
  childhood cancer, diabetes, and asthma.

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  Parham court framed parents’ liberty interest in choosing the best course of

  treatment for their children by reference to other substantive due process cases, see

  442 U.S. at 602 (collecting cases), and this Court relies on Parham in the substantive

  due process context. See Jensen, 603 F.3d at 1197 (framing the substantive due

  process right as the “right to make decisions about the child’s medical care” and

  citing Parham); United States v. White, 782 F.3d 1118, 1138–39 & n.20 (10th Cir.

  2015) ( “The liberty interest parents have in the care, custody, and control of their

  children is a substantive due process right protected by the Fourteenth Amendment”

  (citing Parham)); see also Dubbs, 336 F.3d at 1203 (discussing “the right to consent

  to medical treatment for oneself and one’s minor children” in the substantive due

  process context). Accord Cook v. Gates, 528 F.3d 42, 53 (1st Cir. 2008); Anspach

  v. City of Phila., 503 F.3d 256, 261 (3d Cir. 2007); Wallis v. Spencer, 202 F.3d 1126,

  1141 (9th Cir. 2000).

        To justify supplanting this fundamental right in the case of transgender

  adolescents with gender dysphoria, the State must show that the “infringement is

  narrowly tailored to serve a compelling state interest.” Reno v. Flores, 507 U.S. 292,

  302 (1993) (citations omitted); accord Reed v. Town of Gilbert, 576 U.S. 155, 171

  (2015). Only “the most exact connection between justification and classification

  survives” this test. Kitchen, 755 F.3d at 1219 (cleaned up).




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        With respect to the tailoring requirement, the State has not come close to

  meeting its burden. Safeguarding minors’ health and wellbeing is a compelling

  interest. See Globe Newspaper Co. v. Super. Ct. for Norfolk Cnty., 457 U.S. 596,

  607 (1982). But SB613 harms, rather than protects, transgender adolescents by

  denying them access to the only evidence-based treatment for their gender

  dysphoria.        See       J.A.(Vol.2).0173;   J.A.(Vol.2).0214;     J.A.(Vol.2).0253;

  J.A.(Vol.2).0356; J.A.(Vol.5).0980; J.A.(Vol.5).1000; J.A.(Vol.5).1019. The State

  has not demonstrated that SB613 survives such scrutiny. See supra section I.C.2.

  At most, the State points to the possibility of risks, but “risk[] does not automatically

  transfer the power to make [the healthcare] decision from the parents to some agency

  or officer of the state.” Parham, 442 U.S. at 603. Parent Plaintiffs do not seek access

  to otherwise unavailable medical procedures: the banned treatments are still

  permitted for adults with gender dysphoria and for minors with any other condition

  (or no condition at all).

         There is no justification for imposing a one-size-fits-all ban on care where

  parents, adolescents, and doctors all agree that treatments are medically appropriate.

  Denying access to this treatment exposes Minor Plaintiffs to severe distress and risk

  to their health and wellbeing. J.A.(Vol.2).0291; J.A.(Vol.2).303; J.A.(Vol.2).0329;

  J.A.(Vol.2).0340. The State has not advanced a compelling state interest to justify




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  this harm to the adolescents it purports to protect. The decision below must be

  reversed.

  III.   THE OTHER PRELIMINARY INJUNCTION FACTORS FAVOR
         PLAINTIFFS.

         A.    Plaintiffs Will Be Irreparably Harmed Absent a Preliminary
               Injunction.

         If SB613 is not blocked, Plaintiffs will suffer serious and irreparable harm

  with no adequate remedy at law. See Fort Collins, 916 F.3d at 805–06. “[W]hen an

  alleged constitutional right is involved, most courts hold that no further showing of

  irreparable injury is necessary.” Awad v. Ziriax, 670 F.3d 1111, 1131 (10th Cir.

  2012) (citation omitted); see Fort Collins, 916 F.3d at 806 (claim that city ordinance

  discriminated based on sex in violation of equal protection necessarily satisfied

  irreparable harm).

         But the irreparable harm here is far greater than just the deprivation of

  Plaintiffs’ constitutional rights. SB613 prohibits the initiation or continuation of

  lifesaving medical care, forces families either to watch their children suffer or incur

  the significant expense of travel or relocation out-of-state to access care, and

  compels medical providers to abandon their patients by threatening their medical

  licenses. See J.A.(Vol.2).0140-42. Losing access to medical treatment constitutes

  irreparable harm. See Andersen, 882 F.3d at 1236–37.




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        B.     The Balance of the Equities and Public Interest Favor Plaintiffs.

        The balance of the harms and the public interest, which “merge when, like

  here, the government is the opposing party,” both favor an injunction. Aposhian v.

  Barr, 958 F.3d 969, 978 (10th Cir. 2020) (citation omitted). The harms to Plaintiffs

  from SB613 are tangible, immediate, and irreparable. Whatever interest the State

  may have in enforcing SB613 during the pendency of this case pales compared to

  Plaintiffs’ certain and severe harm. Oklahoma has little to no cognizable interest in

  immediately enforcing a “likely unconstitutional” law. Citizens United v. Gessler,

  773 F.3d 200, 218 (10th Cir. 2014). In contrast, preserving Plaintiffs’ constitutional

  rights is in the public interest. See Verlo v. Martinez, 820 F.3d 1113, 1127 (10th Cir.

  2016). A preliminary injunction is warranted: this Court should preserve the status

  quo until a final decision on the merits.

                                    CONCLUSION

        Oklahoma has withdrawn potentially lifesaving care from the Minor

  Plaintiffs. Only this Court can restore it. The denial of Plaintiffs’ motion for

  preliminary injunction should be reversed, and this Court should order the issuance

  of a preliminary injunction enjoining enforcement of SB613.

        Dated this 9th day of November 2023.




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                                           Respectfully submitted,

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                          CERTIFICATE OF COMPLIANCE

        This brief complies with the type-volume limit of Federal Rule of Appellate

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                                               /s/ Omar Gonzalez-Pagan
                                               Omar Gonzalez-Pagan




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                STATEMENT REGARDING ORAL ARGUMENT

        Plaintiffs’ counsel believes that oral argument would aid this Court in its

  consideration of this appeal. The disposition of this appeal will impact others

  beyond the parties, including transgender youth in Oklahoma, their parents or

  guardians, and their providers, both with respect to the matter of access to gender-

  affirming medical care for transgender adolescents with gender dysphoria in

  Oklahoma as well as larger issues concerning the level of scrutiny applicable to

  discrimination against transgender people and the scope of parents’ fundamental

  right to direct the upbringing of their children, particularly as it pertains to medical

  decisions.

                                                 /s/ Omar Gonzalez-Pagan
                                                 Omar Gonzalez-Pagan




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                          CERTIFICATE OF SERVICE

        I hereby certify that on November 9, 2023, I filed a true and correct copy of

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                                               /s/ Omar Gonzalez-Pagan
                                               Omar Gonzalez-Pagan




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                                               Omar Gonzalez-Pagan




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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

       PETER POE, et al.,

                            Plaintiffs,

       v.                                                    Case No. 23-CV-177-JFH-SH

       GENTNER DRUMMOND, et al.,

                            Defendants.

                                          OPINION AND ORDER

            Before the Court is a motion for preliminary injunction (“Motion”) filed by Plaintiffs

   Benjamin, Bethany, and Brandon Boe; Donna and Daphne Doe; Lauren and Lydia Loe; Paula,

   Patrick, and Peter Poe; Rachel, Richard, and Ryan Roe, and Shauna Lawlis (“Plaintiffs”). Dkt.

   No. 5. Defendants oppose the Motion. 1 For the reasons stated herein, the Motion is DENIED.

                                            BACKGROUND

            On September 29, 2022, the Oklahoma State Legislature enacted Senate Bill 3 (“SB 3”),

   conditionally appropriating $39.4 million to the University Hospitals Authority “for the

   construction and equipping of facilities designed to expand the capacity of behavioral health care”

   for pediatric patients. S.B. 3, 58th Leg., 2nd Ex. Sess. (Okla. 2022). The appropriation was subject

   to the condition that the University Hospitals Authority not budget or expend any appropriated

   funds for the benefit of any facility performing “gender reassignment medical treatment” on

   patients under the age of 18. Id. In October 2022, OU Medicine issued a statement indicating that



   1
     In responding to the complaint and preliminary injunction motion, Defendants have separated
   themselves into two subgroups: (1) OU Medicine, Inc. (“OU Medicine”) and Dr. Richard Lofgren
   in his official capacity as President and Chief Executive Officer of OU Health (“Dr. Lofgren”)
   (collectively the “OU Defendants”); and (2) the remaining defendants (collectively the “State
   Defendants”). Each subgroup filed a separate response to the Motion. Dkt. No. 85; Dkt. No. 86.




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   it had “ceased hormone-related prescription therapies and surgical procedures for gender affirming

   services on patients under the age of 18” because of SB 3 (the “SB 3 Policy”). Dkt. No. 2 at 26. 2

            On May 1, 2023, the Oklahoma State Legislature enacted Senate Bill 613 (“SB 613” or the

   “Act”), codifying that a healthcare provider “shall not knowingly provide gender transition

   procedures to any child.” 63 O.S. § 2607.1(B). SB 613 defined “gender transition procedures” as

   “medical or surgical services performed for the purpose of attempting to affirm the minor’s

   perception of his or her gender or biological sex, if that perception is inconsistent with the minor’s

   biological sex,” including “surgical procedures that alter or remove physical or anatomical

   characteristics or features that are typical for the individual’s biological sex” and “puberty-

   blocking drugs, cross-sex hormones, or other drugs to suppress or delay normal puberty or to

   promote the development of feminizing or masculinizing features consistent with the opposite

   biological sex.” Id. at § 2607.1(A)(2)(a). 3 Under SB 613, a minor receiving puberty-blocking

   drugs (“puberty blockers”) or cross-sex hormones at the time of the law’s enactment may continue

   receiving such drugs or hormones for a period of six (6) months for the sole purpose of “gradually

   decreasing and discontinuing” their use. Id. at § 2607.1(A)(2)(b)(7). Healthcare providers who

   administer Treatment Protocols to minors in violation of SB 613 may face adverse proceedings by

   their professional licensing boards and may be subject to criminal and civil penalties. Id. at §

   2607.1(D)-(F).

            On May 2, 2023, Plaintiffs—five transgender youth who are receiving Treatment Protocols

   (“Minor Plaintiffs”), 4 their parents and legal guardians (“Parent Plaintiffs”), and one healthcare


   2
       All record citations use ECF pagination.
   3
       Referred to collectively as the “Treatment Protocols.”
   4
     Brandon Boe is taking cross-sex hormones. Dkt. No. 6-9 at 4. Daphne Doe is taking puberty
   blockers and cross-sex hormones. Dkt. No. 6-7 at 4. Lydia Loe is taking cross-sex hormones.


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   provider (“Provider Plaintiff”)—filed a complaint seeking declaratory and injunctive relief. Dkt.

   No. 2. Plaintiffs allege that SB 613 violates the Equal Protection Clause of the Fourteenth

   Amendment because it discriminates based on sex and transgender status. Id. at 48-53. Parent

   Plaintiffs also allege that SB 613 violates the Due Process Clause of the Fourteenth Amendment

   because it limits their fundamental right to seek and follow medical advice for their children. Id.

   at 56-57.

          Four of the five Minor Plaintiffs received Treatment Protocols through OU Medicine

   before the enactment of SB 3. These Plaintiffs (“OU Minor Plaintiffs”) and their parents and

   guardians (collectively, “OU Plaintiffs”) also challenge the SB 3 Policy. Id. at 53-56, 58-61. OU

   Minor Plaintiffs allege that, like SB 613, the SB 3 Policy violates the Equal Protection Clause

   because it discriminates against them based on sex and transgender status. Id. at 53-56. OU

   Plaintiffs collectively allege that the SB 3 Policy violates the nondiscrimination provision of the

   Affordable Care Act (“ACA”). Id. at 58-61; see 42 U.S.C. § 18116. 5

          In the instant Motion, Plaintiffs seek to enjoin the enforcement of SB 613 on the equal

   protection and due process grounds set forth in their complaint. Dkt. No. 6.




   Dkt. No. 6-11 at 4. Peter Poe is taking puberty blockers. Dkt. No. 6-5 at 3. Ryan Roe is taking
   puberty blockers. Dkt. No. 6-14 at 4.
   5
      Although the heading for Plaintiffs’ fourth claim indicates that it is brought by OU Plaintiffs
   [Dkt. No. 2 at 58], the complaint includes additional allegations pertaining to Provider Plaintiff
   [Id. at 60]. Specifically, Plaintiffs allege that: (1) Provider Plaintiff is “a recipient of federal
   financial assistance and therefore subject to [the ACA’s] nondiscrimination mandate”; and (2) “[i]t
   is impossible for the [Provider] Plaintiff to continue to comply with her obligations under [the
   ACA] and also comply with the restrictions imposed by [the] SB 3 Policy.” Id. Due to the
   inconsistency, it is not clear whether Provider Plaintiff is also asserting a claim under the ACA.



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                                   AUTHORITY AND ANALYSIS

     I.   Jurisdiction

          A federal court may issue injunctive relief if it has subject matter jurisdiction over the claim

   and personal jurisdiction over the parties. See Sinochem Int'l Co. v. Malaysia Int'l Shipping Corp.,

   549 U.S. 422, 430-31 (2007); Thomas v. Bolls, No. 18-CV-00692-GPG, 2018 WL 9489245, at *2

   (D. Colo. May 16, 2018) (citing Zepeda v. U.S. I.N.S., 753 F.2d 719, 727 (9th Cir. 1983)).

          A. Subject Matter Jurisdiction

          Federal courts possess subject matter jurisdiction for all claims “arising under the

   Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. “A case arises under federal

   law if its well-pleaded complaint establishes either that federal law creates the cause of action or

   that the plaintiff’s right to relief necessarily depends on resolution of a substantial question of

   federal law.” Morris v. City of Hobart, 39 F.3d 1105, 1111 (10th Cir. 1994) (internal quotation

   marks and citation omitted). Here, Plaintiffs’ claims under 42 U.S.C. § 1983 for alleged violations

   of the Fourteenth Amendment to the United States Constitution [Dkt. No. 2 at 48-57] and under

   Section 1557 of the Affordable Care Act, 42 U.S.C. § 18116 [id. at 58-61] satisfy the conditions

   necessary for jurisdiction under § 1331.

          B. Personal Jurisdiction

          “To exercise jurisdiction in harmony with due process, defendants must have minimum

   contacts with the forum state, such that having to defend a lawsuit there would not offend

   traditional notions of fair play and substantial justice.” Shrader v. Biddinger, 633 F.3d 1235, 1239

   (10th Cir. 2011) (brackets and internal quotation marks omitted) (quoting Dudnikov v. Chalk &

   Vermilion Fine Arts, Inc., 514 F.3d 1063, 1070 (10th Cir. 2008)). Plaintiffs state that a substantial

   part of the events giving rise to their claims occurred in this district. Dkt. No. 2 at 9. Plaintiffs




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   also state that Defendants have ties to Oklahoma through their status as members of three groups:

   state officials or agencies in Oklahoma; officers, board members, or trustees of those state agencies

   sued in their official capacity; and officers or board members of several Oklahoma state medical

   licensing boards. Id. at 11-16. This is sufficient for a prima facie showing of personal jurisdiction.

    II.   Standing

          “Article III of the Constitution permits federal courts to decide only ‘Cases’ or

   ‘Controversies.’ To establish a case or controversy, a plaintiff must possess standing to sue.”

   Laufer v. Looper, 22 F.4th 871, 876 (10th Cir. 2022) (internal citations and quotation marks

   omitted). “[T]o demonstrate standing, a plaintiff must show: (1) that he or she has suffered an

   injury in fact; (2) that the injury is fairly traceable to the challenged action of the defendant; and

   (3) that it is likely that the injury will be redressed by a favorable decision.” United States v. Sup.

   Ct. of N.M., 839 F.3d 888, 898 (10th Cir. 2016) (citations and quotation marks omitted). “The

   injury alleged must be concrete and particularized, and the threat of that injury must be actual and

   imminent, not conjectural or hypothetical.” Petrella v. Brownback, 697 F.3d 1285, 1293 (10th

   Cir. 2012) (citations and quotation marks omitted). Here, Plaintiffs’ alleged injury in fact is their

   actual and imminent loss of access to the Treatment Protocols, and the risk of disciplinary action

   to Provider Plaintiff by her licensing board or the courts. These imminent threats are fairly

   traceable to SB 613 and would be redressed by a decision in Plaintiffs’ favor on the

   constitutionality of SB 613. Plaintiffs have made a prima facie showing of standing to assert a

   facial challenge to SB 613.

   III.   Plaintiffs’ Preliminary Injunction Burden

          A preliminary injunction is “an extraordinary remedy, the exception rather than the rule.”

   Mrs. Fields Franchising, LLC v. MFGPC, 941 F.3d 1221, 1232 (10th Cir. 2019) (citation and




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   quotation marks omitted). See also Winter v. NRDC, Inc., 555 U.S. 7, 24 (2008) (“A preliminary

   injunction is an extraordinary remedy never awarded as of right.”). A court may only grant

   preliminary injunctive relief, pursuant to Federal Rule of Civil Procedure 65, if plaintiffs meet

   their burden to demonstrate that: (1) they are substantially likely to succeed on the merits; (2) they

   will suffer irreparable injury if the injunction is denied; (3) their threatened injury outweighs the

   injury the opposing party will suffer under the injunction; and (4) the injunction would not be

   adverse to the public interest. DTC Energy Grp., Inc. v. Hirschfeld, 912 F.3d 1263, 1270 (10th

   Cir. 2018). 6 However, the likelihood-of-success inquiry is often dispositive in the case of a

   constitutional challenge.

           At the outset, it must be observed that, “every time a court recognizes an asserted right as

   a fundamental right protected by the Constitution, the court, ‘to a great extent, place[s] the matter

   outside the arena of public debate and legislative action.’” Eknes-Tucker v. Governor of Ala., 80

   F.4th 1205, 1220 (11th Cir. 2023) (alteration in original) (quoting Washington v. Glucksberg, 521

   U.S. 702, 720 (1997)). For this reason, “the Supreme Court has instructed courts addressing

   substantive due process claims to ‘engage[] in a careful analysis of the history of the right at issue’

   and ‘be “reluctant” to recognize rights that are not mentioned in the Constitution.’” Id. (quoting

   Dobbs v. Jackson Women’s Health Org., 142 S.Ct. 2228, 2246-47 (2022)). This highlights an

   initial obstacle to Plaintiffs’ requested relief. That is, Plaintiffs do not argue that the original fixed

   meaning of either the due process guarantee or the equal protection guarantee covers their claims.

   When faced with a similar challenge to bans on procedures for minors in Kentucky and Tennessee,



   6
     Although this case involves challenges to both SB 613 and the SB 3 Policy, Plaintiffs only seek
   to enjoin the enforcement of SB 613. Dkt. No. 2 at 48-61; Dkt. No. 5 at 1; Dkt. No. 6 at 31.
   Therefore, the Court will consider the factors set forth above as they pertain to Plaintiffs’ SB 613
   claims only.


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   the Sixth Circuit noted the plaintiffs’ lack of historical analysis of these constitutional guarantees

   and discerned:

          That prompts the question whether the people of this country ever agreed to remove
          debates of this sort—over the use of innovative, and potentially irreversible,
          medical treatments for children—from the conventional place for dealing with new
          norms, new drugs, and new public health concerns: the democratic process. Life-
          tenured federal judges should be wary of removing a vexing and novel topic of
          medical debate from the ebbs and flows of democracy by construing a largely
          unamendable Constitution to occupy the field.

   L.W., by and through Williams v. Skrmetti, --- F.4th ---, 2023 WL 6321688, at *5 (6th Cir. Sept.

   28, 2023).

          Plaintiffs face another challenge in that they seek to extend constitutional guarantees into

   new territory. The Skrmetti court addressed this as well:

          There is nothing wrong with that, to be certain. But this reality does suggest that
          the key premise of a preliminary injunction—a showing of a likelihood of success
          on the merits—is missing. Constitutionalizing new areas of American life is not
          something federal courts should do lightly, particularly when “the States are
          currently engaged in serious, thoughtful” debates about the issue.

   Id. at *6 (quoting Glucksberg, 521 U.S. at 719).

          These two concerns highlighted in Skrmetti are also present here. Plaintiffs’ burden to

   establish that the purported rights at issue fall within the original fixed meaning of constitutional

   guarantees—or are of the kind that support newly recognized constitutional guarantees (despite

   ongoing, vigorous public debate)—is a heavy one. Understanding the significant nature of this

   burden, the Court now turns to the alleged rights Plaintiffs claim are violated by SB 613.

   IV.    Plaintiffs’ Equal Protection Claim

          The Equal Protection Clause of the Fourteenth Amendment provides that “no State shall

   deny to any person within its jurisdiction the equal protection of the laws.” U.S. CONST. amend.

   XIV, § 1. This clause “seeks to ensure that any classifications the law makes are made without

   respect to persons, that like cases are treated alike, [and] that those who appear similarly situated


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   are not treated differently without, at the very least, a rational reason for the difference.” SECSYS,

   LLC v. Vigil, 666 F.3d 678, 684 (10th Cir. 2012) (citation and quotation marks omitted).

          To establish a violation of the Equal Protection Clause, a plaintiff must first show that the

   state engaged in intentional discrimination in a manner that harmed the plaintiff. Ashaheed v.

   Currington, 7 F.4th 1236, 1250 (10th Cir. 2021) (recognizing that a party who asserts an equal

   protection violation “has the burden of proving the existence of purposeful discrimination causing

   an adverse effect” (citation and quotation marks omitted)). Intent can be established by either: (1)

   direct proof of a distinction between groups that is evident from the face of the law or other state

   action; or (2) circumstantial evidence that, despite being facially neutral, the state action was taken

   with the purpose of discriminating against a particular group. See id. (recognizing that intentional

   discrimination can be established through circumstantial evidence that “the plaintiff was treated

   differently from similarly situated persons who are alike in all relevant respects”) (citations and

   quotation marks omitted); SECSYS, 666 F.3d at 686 (detailing “several forms” of intentional

   discrimination that, if established, require an inquiry into whether the state’s intentional

   classification is permissible).

          Once a plaintiff demonstrates he or she was adversely affected by the state’s intentional

   discrimination, the Court turns to the question of “whether the state’s intentional decision to

   discriminate can be justified by reference to some upright government purpose.” SECSYS, 666

   F.3d at 686. The Equal Protection Clause does not prohibit a state from making any distinctions

   between people; instead, it requires that, to the extent meaningful distinctions are made between

   groups of individuals, it can nevertheless be said that the state action “treat[s] similarly situated

   persons similarly.” Id. (citing City of Cleburne v. Cleburne Living Center, 473 U.S. 432, 439-40




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   (1985)) (recognizing that the Equal Protection Clause “is essentially a direction that all persons

   similarly situated should be treated alike”).

          The question of whether a state’s classification is justified by reference to an upright

   purpose depends upon the classification at issue. If the government action concerns fundamental

   rights or distinguishes between individuals based upon a suspect classification—such as race or

   national origin—the state action will be subject to strict scrutiny and will be upheld only if it is

   “narrowly tailored to further a compelling government interest.” Save Palisade FruitLands v.

   Todd, 279 F.3d 1204, 1210 (10th Cir. 2002) (citing Goetz v. Glickman, 149 F.3d 1131, 1140 (10th

   Cir. 1998)). State action that distinguishes among groups based on “quasi-suspect” classifications,

   such as sex, are subject to an intermediate standard of review and will be upheld so long as the

   discriminatory means serves “important governmental objectives” and is “substantially related to

   the achievement of those objectives.” United States v. Virginia, 518 U.S. 515, 516 (1996) (citation

   and quotation marks omitted). Where the state action does not implicate a fundamental right or

   draw a distinction based upon a suspect class, rational basis scrutiny applies, and the Court’s

   inquiry will be directed to whether the classification is rationally related to a legitimate purpose.

   See Price-Cornelison v. Brooks, 524 F.3d 1103, 1110 (10th Cir. 2008). Given the different

   standards of scrutiny that apply to the different types of distinctions that a legislature may draw,

   the Court must take care to accurately identify the distinction that the Oklahoma Legislature made

   in SB 613.7



   7
     In a sense, there is a level of overlap between Plaintiffs’ due process and equal protection claims.
   “[I]f a classification impinge[s] upon the exercise of a fundamental right, the Equal Protection
   Clause requires the State to demonstrate that its classification has been precisely tailored to serve
   a compelling governmental interest.” Kitchen v. Herbert, 755 F.3d 1193, 1218 (10th Cir. 2014)
   (citation and quotation marks omitted) (alteration in original); see Fowler v. Stitt, No. 22-CV-115-
   JWB-SH, 2023 WL 4010694, at *18 (N.D. Okla. June 8, 2023).


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          The Court concludes that SB 613 restricts particular medical procedures for individuals

   under a particular age. The evidence is apparent from the face of the Act itself, which is not a

   wholesale prohibition on gender affirming care for transgender individuals but is instead a

   legislative determination that only adults may have access to gender affirming care through the

   Treatment Protocols.

          A. Age Classification

          SB 613 does not prevent any adult—male or female—from undergoing Treatment

   Protocols in connection with gender affirming care; it only prevents minors from doing so. See

   Eknes-Tucker, 80 F.4th at 1227 (agreeing that Alabama’s similar act “is best understood as a law

   that targets specific medical interventions for minors, not one that classifies on the basis of any

   suspect characteristic under the Equal Protection Clause”). Facially, the distinction made is

   between adults who are ready to make life-altering decisions and minors who, at least in the eyes

   of the legislature, are not. This is precisely the type of age-based legislative decision that courts

   have long accepted as being subject to rational basis review. See Hedgepeth ex rel. Hedgepeth v.

   Wash. Metro. Area Transit Auth., 386 F.3d 1148, 1155 (D.C. Cir. 2004) (concluding that

   “classifications based on youth—like those based on age in general—do not trigger heightened

   scrutiny for equal protection purposes”); Bykofsky v. Borough of Middletown, 401 F. Supp. 1242,

   1266 (M.D. Pa. 1975) (recognizing that “youths under the age of eighteen have traditionally been

   regulated and restricted by American law in many ways,” including through limitations on their

   ability to enter into contracts, purchase certain goods, work at certain jobs, and be held liable for

   criminal behavior), aff'd, 535 F.2d 1245 (3d Cir. 1976).




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          B. Sex Classification

          The Court rejects Plaintiffs’ argument that the Act is discriminatory on its face because it

   makes distinctions in “explicit gendered terms.” Dkt. No. 6 at 18-19. True, SB 613 uses terms

   such as “sex” and “gender” to discuss the Treatment Protocols, but the use of those terms is due to

   the fact the Act itself concerns “medical or surgical services performed for the purpose of

   attempting to affirm [a] minor’s perception of his or her gender or biological sex . . . .” 63 O.S. §

   2607.1(A)(2). The use of these “gendered terms” reflects the nature of the procedure being

   regulated, not an intention to discriminate between people of different sexes. See Eknes-Tucker,

   80 F.4th at 1228 (rejecting argument that a similar statutory classification was sex-based where

   “the statute refer[red] to sex only because the medical procedures that it regulates—puberty

   blockers and cross-sex hormones as a treatment for gender dysphoria—are themselves sex-

   based”). Indeed, it would be difficult, if not impossible, for the legislature to regulate this area

   without using the challenged terms. See Skrmetti, 2023 WL 6321688, at *14 (rejecting the

   argument that the use of the word “sex” in Kentucky and Tennessee statutes banning medical

   procedures similar to the Treatment Protocols for minors constituted sex discrimination,

   explaining, “The Acts mention the word ‘sex,’ true. But how could they not? The point of the

   hormones is to help a minor transition from one gender to another, and laws banning, permitting,

   or otherwise regulating them all face the same linguistic destiny of describing the biology of the

   procedures.”).

          Rather than applying a litmus test in which the presence of the word “sex” or “gender”

   necessitates intermediate scrutiny, the Court must look to the language of the statute and examine

   whether SB 613 uses gendered terms to distinguish between groups of people. The Court finds

   that it does not. Where the Act uses gendered terms, it does so to identify the procedures at issue.




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   As noted, SB 613 uses the terms “gender” and “sex” when articulating the “gender transition

   procedures” that are prohibited for minors. See 63 O.S. § 2607.1(A)(2)(a). It likewise provides

   specific examples of the procedures that individuals cannot undergo before reaching the age of

   majority, including “surgical procedures that alter or remove physical or anatomical characteristics

   or features that are typical for the individual’s biological sex” and drugs that “promote the

   development of feminizing or masculinizing features consistent with the opposite biological sex.”

   Id.

          The Act does not use sex as a means to distinguish between groups—treatments allowed

   by SB 613 are allowed for all minors, regardless of sex. Id. at § 2607.1(A)(2)(b). Similarly, all

   minors, regardless of sex, are prohibited from undergoing certain procedures for the purpose of

   gender transition before reaching the age of majority. 63 O.S. § 2607.1(B) (“A health care provider

   shall not knowingly provide gender transition procedures to any child.”); id. at § 2607.1(A)(1)

   (defining a “child” as “any person under the age of eighteen (18) years of age”) (emphasis added).

   So far, they are equal. See Eknes-Tucker, 80 F.4th at 1228 (holding that the challenged statute did

   “not establish an unequal regime for males and females” where the law restricted certain treatments

   for treating gender discordance “for all minors”).

          Plaintiffs argue that, notwithstanding the facially neutral application, SB 613 has the effect

   of discriminating based on sex because it “enforces sex stereotypes and gender conformity.” Dkt.

   No. 6 at 19-20. They point to Bostock v. Clayton County, Georgia, 140 S.Ct. 1731 (2020), where

   the Supreme Court held that an employer violates Title VII when it takes an adverse employment

   action against an individual because that person is transgender. Accord Tudor v. Se. Okla. State

   Univ., 13 F.4th 1019, 1028 (10th Cir. 2021) (recognizing that “transgender discrimination . . . is




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   discrimination ‘because of sex’ prohibited under Title VII”). According to Plaintiffs, the reasoning

   of Bostock equally applies to equal protection claims.

          At one point, it could have appeared that one circuit might agree with Plaintiffs’ argument.

   See Glenn v. Brumby, 663 F.3d 1312, 1317 (11th Cir. 2011) (recognizing that discrimination

   against a transgender individual because of his or her gender non-conformity is gender

   stereotyping prohibited by Title VII and the Equal Protection Clause). However, the Eleventh

   Circuit recently removed any belief that could be so. See Eknes-Tucker, 80 F.4th at 1228-29

   (rejecting application of Bostock and Brumby in upholding Alabama’s similar ban on gender

   affirming procedures for minors, explaining that neither of those cases dealt with the Equal

   Protection Clause as applied to laws regulating medical treatments). More importantly, the Tenth

   Circuit has not accepted Plaintiffs’ theory about the application of Bostock here.

          Absent binding precedent to the contrary, this Court will not extend the reasoning of

   Bostock—a Title VII case concerning an adverse employment action—to this case, which concerns

   a materially different governing law, materially different language, and materially different facts.

   See id. at 1229 (concluding that because Bostock “concerned a different law (with materially

   different language) and a different factual context,” that decision bore “minimal relevance” to the

   question of whether the statutory prohibition against certain gender transition procedures violated

   the Equal Protection Clause). See also Skrmetti, 2023 WL 6321688, at *16-17 (contrasting the

   facts in Bostock, where adult employees were “fired . . . because their behavior did not match

   stereotypes of how adult men or women dress or behave,” with the laws at issue, which “do not

   deny anyone general healthcare treatment based on any such stereotypes[, but] merely deny the

   same medical treatments to all children facing gender dysphoria if they are 17 or under”); Students

   for Fair Admissions v. Harvard Coll., 600 U.S. 181, 308 (2023) (Gorsuch, J., concurring)




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   (comparing the text of Title VII with the Equal Protection Clause and concluding that the

   suggestion that “such differently worded provisions should mean the same thing is implausible on

   its face”).

           Even if this Court were to hold that classifications based upon “gender conformity” (or

   lack thereof) constitute sex-based classifications under the Equal Protection Clause, this would not

   advance Plaintiffs’ claims. This is not a case where a state action is being taken to further a

   particular gender stereotype or prohibit conduct that contravenes that stereotype. See Eknes-

   Tucker, 80 F.4th at 1229 (concluding that rational basis scrutiny applied to a law targeting certain

   medical interventions associated with gender dysphoria, as that law did not “further any particular

   gender stereotype”); Skrmetti, 2023 WL 6321688, at *18 (“Recognizing and respecting biological

   sex differences does not amount to stereotyping . . . .”) Instead, this is a case where the Oklahoma

   Legislature has prohibited all minors from using certain medical procedures to treat gender

   dysphoria. The law does not further gender stereotypes by taking adverse actions against those

   who fail to conform to them; it simply requires that adolescents reach the age of majority before

   undergoing certain medical interventions to treat the psychological condition of gender dysphoria.

           C. Transgender Status Classification

           Plaintiffs take the position that, even if SB 613 does not distinguish on the basis of gender

   (or conformance with gender norms), the statute is nevertheless subject to heightened scrutiny

   because it treats transgender individuals differently than other individuals. The Court disagrees.

   First, the Supreme Court has not recognized transgender status as a suspect class. 8 In addition, the



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      “The bar for recognizing a new suspect class is a high one. The Supreme Court ‘has not
   recognized any new constitutionally protected classes in over four decades, and instead has
   repeatedly declined to do so.’” Skrmetti, 2023 WL 6321688, at *18 (quoting Ondo v. City of
   Cleveland, 795 F.3d 597, 609 (6th Cir. 2015)).



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   Tenth Circuit “has not held that a transsexual plaintiff is a member of a protected suspect class for

   purposes of Equal Protection claims,” and has analyzed such claims under the rational basis

   standard. Druley v. Patton, 601 F. App’x 632, 635 (10th Cir. 2015). 9 See also Skrmetti, 2023 WL

   6321688, at *18-19 (discussing the considerations the Supreme Court has highlighted when

   recognizing a new suspect class and explaining why transgender status is not likely to qualify

   under such considerations).      Furthermore, even if heightened scrutiny were to apply to

   classifications based on transgender status, the Court would not find that SB 613 makes such a

   classification.

           The Court is not persuaded by Plaintiffs’ argument that SB 613 is part of a “larger

   legislative strategy to discriminate against transgender people, including by restricting access to

   gender-affirming care for people of all ages” [Dkt. No. 6 at 21-22 & n.3] for three reasons. First,

   although Plaintiffs suggest that 15 bills were introduced as part of a legislature-wide strategy to

   discriminate against transgender people, they cite only two: HB 1011 and SB 345. Id. Neither of

   these bills received a floor vote, 10 which undercuts Plaintiffs’ claims; if these bills were

   components of an overarching discriminatory strategy, it seems unlikely that they would have died

   in committee. Second, Plaintiffs provide no evidence for their claim that SB 613 was one of 15

   similar bills. The Court declines to further inquire into Oklahoma’s legislative records concerning

   the nature and purpose of these purported bills when Plaintiffs apparently did not believe the

   endeavor to be worth their own time. It would seem likely, however, that had any bills made more


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     Unpublished appellate decisions are not precedential but may be cited for their persuasive value.
   See 10th Cir. R. 32.1; Fed. R. App. P. 32.1.
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      See http://www.oklegislature.gov/BillInfo.aspx?Bill=hb1011&Session=2300 and http://www.
   oklegislature.gov/BillInfo.aspx?Bill=sb345&Session=2300. The Court takes judicial notice of
   these governmental records. See High Desert Relief, Inc. v. United States, 917 F.3d 1170, 1175
   n.1 (10th Cir. 2019).



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   progress than HB 1011 or SB 345, Plaintiffs would have cited them. Third, one of the bills

   referenced by Plaintiffs, HB 1011, sought to ban Treatment Protocols for anyone under the age of

   21, rather than under the age of 18. The legislature’s decision to enact SB 613, with its lower age

   restriction, undermines Plaintiffs’ argument that the legislature was operating with the goal of

   invidious discrimination against all transgender individuals.        Plaintiffs’ theory is simply

   insufficient to establish a likelihood that they will prove that SB 613 was part of an impermissible

   scheme to discriminate against transgender people.

          The Court likewise rejects Plaintiffs’ claim that SB 613 discriminates against transgender

   individuals because it “singles out medical care that only transgender people need or seek.” Dkt.

   No. 6 at 18. Although the statute does restrict a specific course of treatment that only transgender

   individuals would normally request, that fact alone does not render the statute invalid. As the

   Supreme Court recently recognized when addressing whether a state’s regulation of abortion was

   a sex-based classification, the “regulation of a medical procedure that only one sex can undergo

   does not trigger heightened constitutional scrutiny unless the regulation is a ‘mere pretex[t]

   designed to effect an invidious discrimination against members of one sex or the other.’” Dobbs,

   142 S.Ct. at 2245-46 (alteration in original) (quoting Geduldig v. Aiello, 417 U.S. 484, 496 n.20

   (1974)). Just as the “goal of preventing abortion does not constitute invidiously discriminatory

   animus against women,” id. at 2246, the goal of prohibiting minors from accessing a course of

   treatment that “only transgender people need or seek” [Dkt. No. 6 at 18] does not itself constitute

   discriminatory animus against transgender people. Where, as here, there is no evidence of pretext

   for discrimination, SB 613’s classification scheme does not trigger a heightened standard of

   review. See Eknes-Tucker, 80 F.4th at 1230 (holding that, because there was no evidence that the

   regulation was pretext for discrimination against transgender individuals, the ban’s “relationship




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   to transgender status [did] not warrant heightened scrutiny”). Accordingly, the legislature’s

   classification scheme will be upheld so long as it survives rational basis review. See Section VI,

   infra.

    V.      Parent Plaintiffs’ Substantive Due Process Claim

            The Due Process Clause of the Fourteenth Amendment provides that no state shall “deprive

   any person of life, liberty, or property, without due process of law.” U.S. CONST. amend. XIV, §

   1.    Two types of substantive rights have been recognized within the Due Process Clause:

   enumerated rights, set out in the first eight Amendments, and implied rights, “a select list of

   fundamental rights that are not mentioned anywhere in the Constitution.” Dobbs, 152 S.Ct. at

   2246. This case involves implied rights. See Fowler v. Stitt, --- F. Supp. 3d ---, 2023 WL 4010694,

   at *8 (N.D. Okla. June 8, 2023) (“The Constitution makes no express reference to . . . one’s gender,

   nor does it reference a right to be treated consistent with one’s gender identity. Thus, Plaintiffs

   must show that the right is somehow implicit in the constitutional text . . . .”), appeal docketed,

   No. 23-5080 (10th Cir. July 7, 2023).

            An implied rights substantive due process analysis generally requires two steps. The Court

   must first “carefully describe the asserted fundamental liberty interest,” then “decide whether the

   asserted liberty interest, once described, is objectively, deeply rooted in this Nation’s history and

   tradition, and implicit in the concept of ordered liberty, such that neither liberty nor justice would

   exist if they were sacrificed.” Seegmiller v. LaVerkin City, 528 F.3d 762, 769 (10th Cir. 2008)

   (citation and quotation marks omitted). 11



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       A second test, referred to as the “shocks the conscience” test, is sometimes appropriate for a
   substantive due process case (usually, though not exclusively, in cases involving challenged
   actions by the executive branch of government). Seegmiller, 528 F.3d at 767. “Conduct that
   shocks the judicial conscience . . . is deliberate government action that is ‘arbitrary’ and
   ‘unrestrained by the established principles of private right and distributive justice.’” Id. (quoting


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          A. Description of the Interest

          “That many of the rights and liberties protected by the Due Process Clause sound in

   personal autonomy does not warrant the sweeping conclusion that any and all important, intimate,

   and personal decisions are so protected . . . .” Glucksberg, 521 U.S. at 727 (1997) (first citing

   Planned Parenthood of Se. Pa. v. Casey, 505 U.S. 833, 852 (1992); and then citing San Antonio

   Indep. Sch. Dist. v. Rodriguez, 411 U.S. 1, 33-35 (1973)). “As a general matter, the Court has

   always been reluctant to expand the concept of substantive due process because guideposts for

   responsible decisionmaking in this unchartered area are scarce and open-ended.” Collins v. City

   of Harker Heights, Tex., 503 U.S. 115, 125 (1992) (citing Regents of Univ. of Mich. v. Ewing, 474

   U.S. 214, 225-26 (1985)). The Supreme Court emphasized the need for precise framing in

   Glucksberg, explaining:

          By extending constitutional protection to an asserted right or liberty interest, we, to
          a great extent, place the matter outside the arena of public debate and legislative
          action. We must therefore exercise the utmost care whenever we are asked to break
          new ground in this field, lest the liberty protected by the Due Process Clause be
          subtly transformed into the policy preferences of the [judiciary].

   521 U.S. at 720 (internal citations and quotation marks omitted). Rights framed as “[v]ague

   generalities . . . will not suffice.” Chavez v. Martinez, 538 U.S. 760, 776 (2003).

          Glucksberg demonstrated the type of the precise framing required. In that case, terminally

   ill patients and treating physicians who challenged a state law banning physician-assisted suicide



   Cnty. of Sacramento v. Lewis, 523 U.S. 833, 846 (1998)). The Tenth Circuit has cautioned that
   “[c]ourts should not unilaterally choose to consider only one or the other” test. Id. at 769. Here,
   no party raised the “shocks the conscience” test, and the Court does not believe it to be appropriate
   under the facts of this case. “[O]nly the most egregious official conduct can be said to be arbitrary
   in the constitutional sense,” id. at 767 (citation and quotation marks omitted), and nothing in the
   record gives the Court concern that the ordinary legislative process through which SB 613 was
   codified would qualify as egregious. Therefore, the Court focuses on the “fundamental liberty”
   test.



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   argued that “our liberty jurisprudence, and the broad, individualistic principles it reflects,

   protect[ed] the liberty of competent, terminally ill adults to make end-of-life decisions free of

   undue government interference.” 521 U.S. at 724 (citation and quotation marks omitted). The

   Court narrowed the issue significantly, framing the question presented as “whether the protections

   of the Due Process Clause include a right to commit suicide with another’s assistance.” Id.

           Similarly, “[a]lthough many of the Court’s ‘privacy’ decisions have implicated sexual

   matters, the Court has never indicated that the mere fact that an activity is sexual and private

   entitles it to protection as a fundamental right.” Seegmiller, 528 F.3d at 770 (quoting Williams v.

   Att’y Gen. of Ala., 378 F.3d 1232, 1236 (11th Cir. 2004)). Rather than considering broad,

   generalized rights, courts have examined “more narrowly defined right[s]” such as that “of married

   couples to obtain and use contraceptives.” Id. (citing Griswold v. Connecticut, 381 U.S. 479, 485-

   86 (1965)). 12

           The direction to district courts is clear: an asserted implied right must be narrowly and

   precisely expressed. Thus, “our first job in assessing a substantive due process claim is to make a

   ‘careful description’ of the allegedly violated right.” Browder v. City of Albuquerque, 787 F.3d

   1076, 1078 (10th Cir. 2015) (quoting Glucksberg, 521 U.S. at 721). Here, the parties frame the

   disputed liberty interest differently. Plaintiffs describe the asserted right as “the fundamental

   right[] of parents to seek appropriate medical care for their minor children.” Dkt. No. 6 at 25.

   Defendants describe the asserted right as a “fundamental right for parents to choose for their



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       Even when distinguishing Glucksberg, the Supreme Court structured the question presented
   based on the action that plaintiffs wanted to perform rather than the characteristics of the plaintiffs.
   See Obergefell v. Hodges, 576 U.S. 644, 671 (2015). More recently, the Court reiterated the
   Glucksberg standard in Dobbs, directing lower courts to “exercise the utmost care” and avoid
   “freewheeling judicial policymaking” in structuring substantive due process inquiries. 142 S.Ct.
   at 2247-48.



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   children to use puberty blockers, cross-sex hormones, and surgeries for the purposes of

   effectuating a gender transition.” Dkt. No. 86 at 35. The Court examines each.

           Federal precedent “historically has reflected Western civilization concepts of the family as

   a unit with broad parental authority over minor children.” Parham v. J.R., 442 U.S. 584, 602

   (1979). Parents are presumed to act in the best interest of their children. Id. at 602-03 (“That some

   parents may at times be acting against the interests of their children . . . creates a basis for caution[]

   but is hardly a reason to discard wholesale those pages of human experience that teach that parents

   generally do act in the child’s best interests.”) (internal citation and quotation marks omitted).

           Because “[t]he law’s concept of the family rests on a presumption that parents possess what

   a child lacks in maturity, experience, and capacity for judgment required for making life’s difficult

   decisions,” id. at 602, “the interest of parents in the care, custody, and control of their children []

   is perhaps the oldest of the fundamental liberty interests recognized by [the] Court,” Troxel v.

   Granville, 530 U.S. 57, 65 (2000) (plurality opinion). Parental obligations toward children include

   the “‘high duty’ to recognize symptoms of illness and to seek and follow medical advice.”

   Parham, 442 U.S. at 602. “Most children, even in adolescence, simply are not able to make sound

   judgments concerning many decisions, including their need for medical care or treatment. Parents

   can and must make those judgments.” Id. at 603. “Nonetheless, [the Court has] recognized that a

   state is not without constitutional control over parental discretion in dealing with children when

   their physical or mental health is jeopardized.” Id.

           Although the Tenth Circuit has “never specifically recognized or defined the scope of a

   parent’s right to direct her child’s medical care” it has expressed confidence in the position that “a

   parent’s general right to make decisions concerning the care of her child includes, to some extent,

   a more specific right to make decisions about the child’s medical care.” PJ ex rel. Jensen v.




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   Wagner, 603 F.3d 1182, 1197 (10th Cir. 2010) (citation and quotation omitted). At the same time,

   “parental rights, including any right to direct a child’s medical care, are not absolute.” Id. at 1197-

   98 (first citing Prince v. Massachusetts, 321 U.S. 158, 166 (1944); and then citing Parham, 442

   U.S. at 604). “Indeed, states have a compelling interest in and a solemn duty to protect the lives

   and health of the children within their borders.” Id. (citing Globe Newspaper Co. v. Superior Ct.

   for Norfolk Cnty., 457 U.S. 596, 607 (1982)).

          A close examination of Parham and Troxel demonstrates that they do not support the

   conclusion that there is a broad, general right of the type asserted by Plaintiffs. First, the Parham

   decision involved procedural due process, which has a far less fraught history than its substantive

   cousin. See 442 U.S. at 620 n.23. The question at issue in Parham was whether minors had a due

   process right to greater procedural safeguards—e.g., a judicial hearing—before their parents could

   commit them to a mental health institution. Eknes-Tucker, 80 F.4th at 1222-23 (citing Parham,

   442 U.S. at 610). “Parham was concerned about the procedures a state must afford a child prior

   to institutionalization when the parent believes such treatment—which is not only lawful but

   provided by the state itself—is necessary.” Id. at 1223 (emphasis added). Because “Parham does

   not at all suggest that parents have a fundamental right to direct a particular medical treatment for

   their child that is prohibited by state law,” it “offers no support” for Plaintiffs’ substantive due

   process claim. Id.

          Next, the Troxel case involved a fractured Court. 530 U.S. at 60. Four justices joined the

   plurality opinion, two justices concurred in judgment only, and one of those two noted that the

   decision did not “call for turning any fresh furrows in the ‘treacherous field’ of substantive due

   process.” Id. at 76 (Souter, J., concurring in judgment); see also id. at 80 (Thomas, J., concurring

   in judgment). One of the dissenting justices noted that “[d]espite this Court’s repeated recognition




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   of [the] significant parental liberty interests, these interests have never been seen to be without

   limits.” Id. at 87 (Stevens, J., dissenting). Another emphasized that “[o]nly three holdings of [the

   Supreme] Court rest in whole or in part upon a substantive constitutional right of parents to direct

   the upbringing of their children—two of them from an era rich in substantive due process holdings

   that have since been repudiated.” Id. at 92 (Scalia, J., dissenting). Further, Troxel did not involve

   parental rights with respect to making medical decisions; it involved parental rights with respect

   to decision-making concerning the visitation of grandparents. Id. at 61.

          Finally, the Tenth Circuit has avoided specificity, instead directing that, “[w]hen a child’s

   life or health is endangered by her parents’ decisions, in some circumstances a state may intervene

   without violating the parents’ constitutional rights.” Doe v. Woodard, 912 F.3d 1278, 1300 (10th

   Cir. 2019) (quoting Jensen, 603 F.3d at 1198).

          This analysis leads to the inevitable conclusion that Plaintiffs’ rights formulation has the

   same overbreadth issue as the Glucksberg plaintiffs’ rights formulation. Here, Parent Plaintiffs

   allege that Oklahoma’s ban on the Treatment Protocols violates their right to seek appropriate

   medical care for their minor children. Dkt. No. 6 at 25. In Glucksberg, plaintiffs alleged that

   Washington’s ban on physician-assisted suicide violated their right to “make end-of-life decisions

   free of undue government interference.” 521 U.S. at 724. The Supreme Court rejected this wide

   formulation, instead narrowing the question presented to whether individuals had an affirmative

   right to perform a specific activity: committing suicide with another’s assistance. Id.

          “Guideposts for responsible decisionmaking” regarding substantive due process are

   “scarce and open-ended” in the best of circumstances. Collins, 503 U.S. at 125. Guideposts

   regarding parental medical decisionmaking are even more nebulous. “In interpreting what is

   meant by the Fourteenth Amendment's reference to ‘liberty,’ we must guard against the natural




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   human tendency to confuse what that Amendment protects with our own ardent views about the

   liberty that Americans should enjoy.” Dobbs, 142 S.Ct. at 2247. Thus, following the Supreme

   Court’s direction to “exercise the utmost care” in carefully describing the asserted fundamental

   liberty interest, the Court concludes that Plaintiffs’ rights formulation is too much of a “vague

   generality” to satisfy this first step.

           Defendants’ framing of the issue is consistent with the approach approved by the Supreme

   Court. They define the asserted right as “a fundamental right for parents to choose for their

   children to use puberty blockers, cross-sex hormones, and surgeries for the purposes of

   effectuating a gender transition.” Dkt. No. 86 at 35. This follows the method of framing presented

   in Glucksberg and other substantive due process precedents. See, e.g., 521 U.S. at 724; Lawrence

   v. Texas, 539 U.S. 558 (2003) (examining whether substantive due process includes the right for

   adults to perform consensual homosexual acts in private). Accord Eknes-Tucker, 80 F.4th at 1221,

   1224 (emphasizing that “a substantive due process analysis must focus on the specific right

   asserted, rather than simply rely on a related general right,” and framing the issue as a right to

   “treat [one’s] children with transitioning medications subject to medically accepted standards”)

   (alteration in original).    The Court finds Defendants’ definition is an appropriately careful

   description of the allegedly violated right.

           B. Historical Analysis

           Now that the Court has a definition for the allegedly infringed right, it must “examine

   whether the right at issue . . . is rooted in our Nation’s history and tradition and whether it is an

   essential component of what we have described as ‘ordered liberty.’” Dobbs, 142 S.Ct. at 2244.

   Plaintiffs have not provided any historical antecedents demonstrating that a right to the Treatment




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   Protocols is deeply rooted. 13 Plaintiffs have therefore failed to carry their burden of proving the

   liberty interest they seek is so fundamental that it must be protected through a heightened scrutiny

   analysis. Seegmiller, 528 F.3d at 770.

          The Court’s conclusion is harmonious with the conclusions of numerous courts “reject[ing]

   arguments that the Constitution provides an affirmative right of access to particular medical

   treatments reasonably prohibited by the Government.” 14 Abigail All. for Better Access to Dev’l

   Drugs v. von Eschenbach, 495 F.3d 695, 710 (D.C. Cir. 2007) (en banc); see also id. at n.18 (“No

   circuit court has acceded to an affirmative access claim.”). “While our longstanding traditions

   may give individuals a right to refuse treatment, there is no historical support for an affirmative

   right to specific treatments.” Skrmetti, 2023 WL 6321688, at *9 (citing Glucksberg, 521 U.S. at

   725-26). In fact, except for one district court in Texas in 1980, 15 “it appears that every court to

   consider the issue has rejected the argument that access to a specific treatment or specific provider

   . . . is a fundamental right protected by the Constitution.”        Birchansky v. Clabaugh, No.

   417CV00209RGERAW, 2018 WL 10110860, at *18 (S.D. Iowa Oct. 17, 2018), aff'd, 955 F.3d


   13
      Borrowing Defendants’ phrasing, “The reason for this is simple: The treatments that they seek
   have only existed for a few decades.” Dkt. No. 86 at 35 (citing Dkt. No. 6-16 at ¶ 28). As the
   Eleventh Circuit recently explained, “the earliest-recorded use of puberty blocking medication and
   cross-sex hormone treatment for purposes of treating the discordance between an individual’s
   biological sex and sense of gender identity did not occur until well into the twentieth century.”
   Eknes-Tucker, 80 F.4th at 1220-21.
   14
      Some of these cases involved various forms of executive action, such as practitioner licensing
   laws or patients seeking access to treatments that had issues in the FDA approval process. Here,
   SB 613 came about through legislative action. The executive action cases are pertinent because
   the key inquiry is whether the government (regardless of branch) infringed on constitutional rights.
   Seegmiller, 528 F.3d at 767 (“Although some precedential support exists for [an] executive versus
   legislative distinction, an overly rigid demarcation between the two lines of cases is neither
   warranted by existing case law nor helpful to the substantive analysis.”).
   15
      Andrews v. Ballard, 498 F. Supp. 1038 (S.D. Tex. 1980) (holding the constitutional right of
   privacy included a patient's right to obtain acupuncture treatment).



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   751 (8th Cir. 2020). See also Nat'l Ass'n for Advan. of Psych. v. Cal. Bd. of Psych., 228 F.3d 1043,

   1050 (9th Cir. 2000) (holding that “substantive due process rights do not extend to the choice of

   type of treatment or of a particular health care provider.”); Mitchell v. Clayton, 995 F.2d 772, 775

   (7th Cir. 1993) (explaining that “most federal courts have held that a patient does not have a

   constitutional right to obtain a particular type of treatment or to obtain treatment from a particular

   provider if the government has reasonably prohibited that type of treatment or provider”). And

   the Tenth Circuit reversed a trial court’s holding that the constitutional right of privacy allowed

   patients to take “whatever treatment they wished regardless of whether the FDA regarded the

   medication as ‘effective’ or ‘safe.’” Rutherford v. United States, 616 F.2d 455, 456 (10th Cir.

   1980). The Sixth Circuit effectively summarized the issue:

          This country does not have a “deeply rooted” tradition of preventing governments
          from regulating the medical profession in general or certain treatments in particular,
          whether for adults or their children. Quite to the contrary in fact. State and federal
          governments have long played a critical role in regulating health and welfare, which
          explains why their efforts receive a strong presumption of validity. State
          governments have an abiding interest in protecting the integrity and ethics of the
          medical profession and preserving and promoting the welfare of the child. These
          interests give States broad power, even broad power to limit parental freedom when
          it comes to medical treatment.

   Skrmetti, 2023 WL 6321688, at *7 (internal quotation marks and citations omitted).

          In the case before this Court, Plaintiffs have not demonstrated a fundamental right for

   parents to choose for their children to use puberty blockers, cross-sex hormones, and surgeries for

   the purpose of effectuating a gender transition. “Absent a fundamental right, the state may regulate

   an interest pursuant to a validly enacted state law or regulation rationally related to a legitimate

   state interest.” Seegmiller, 528 F.3d at 771. Accordingly, rational basis review applies.

   VI.    Rational Basis Review

          Since both of Plaintiffs’ constitutional claims call for rational basis review, the Court

   examines the two claims in tandem to determine whether Plaintiffs are likely to succeed in showing


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   that there is no rational basis for the restrictions in SB 613. As explained below, it is unlikely that

   Plaintiffs’ claims will survive this level of scrutiny for numerous reasons, many of which are

   demonstrated by the profound debate concerning this very issue.

          A. Legislative Debate

          Where, as here, there is robust scientific and political debate concerning a significant

   public-policy question, a court should be loath to step in to end the debate and thereby suggest it

   is all-knowing. The record in this case amply demonstrates that there is no consensus in the

   medical field about the extent of the risks or the benefits of the Treatment Protocols. See Section

   VI.B., infra. Plaintiffs assert throughout their briefing that the Treatment Protocols for minors are

   not “experimental.”     While this is perhaps technically true, Plaintiffs’ representations are

   misleading. “Not experimental” in this case does not translate to “proven” or “established.” 16

   Rather, Plaintiffs admit that experiments and scientific studies of the sort generally seen in the

   medical field have not been done in this area. Whether such experiments or studies could be done

   ethically is a topic of healthy debate between the parties’ experts. Compare Dkt. No. 6-16 at 9, 16

   with Dkt. No. 86-1 at 30, 132-33. Nonetheless, it is more accurate to state that the Treatment

   Protocols are not “experimental” only because the experimental phase has truly not yet begun.

          The Court should not cut off this debate by declaring that only one side has all the answers

   in its corner. Instead, the “conventional place for dealing with new norms, new drugs, and new

   technologies [is] the democratic process,” and “[l]ife-tenured federal judges should be wary of

   removing a vexing and novel topic of medical debate from the ebbs and flows of democracy.”

   Skrmetti, 2023 WL 6321688, at *5. When “Americans are engaged in an earnest and profound


   16
      See, e.g., Dkt. No. 132-1 at 10 (“Experiments test treatments by comparing two groups (or
   ‘arms’), one that receives the treatment and one that does not. Because medicalized transition has
   not yet been tested with a two-group design, it has not yet passed the experimental stage.”)



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   debate about the morality, legality, and practicality” of a life-altering medical intervention, courts

   are wise to “permit[] this debate to continue, as it should in a democratic society.” Glucksberg,

   521 U.S. at 735. 17 The Sixth Circuit succinctly applied this general rule to the issue at hand when

   it explained:

          Given the high stakes of these nascent policy deliberations—the long-term health
          of children facing gender dysphoria—sound government usually benefits from
          more rather than less debate, more rather than less input, more rather than less
          consideration of fair-minded policy approaches. To permit legislatures on one side
          of the debate to have their say while silencing legislatures on the other side of the
          debate under the Constitution does not further these goals. That is all the more
          critical in view of two realities looming over both cases—the concept of gender
          dysphoria as a medical condition is relatively new and the use of drug treatments
          that change or modify a child’s sex characteristics is even more recent. Prohibiting
          citizens and legislatures from offering their perspectives on high-stakes medical
          policies, in which compassion for the child points in both directions, is not
          something life-tenured federal judges should do without a clear warrant in the
          Constitution.

   Skrmetti, 2023 WL 6321688, at *6. The legislature in this case weighed in on one side of a

   nationwide dispute over how to balance the truth that parents generally can be expected to know

   what is best for their children against the competing reality that state governments have an abiding

   interest “in protecting the integrity and ethics of the medical profession,” Glucksberg, 521 U.S. at

   731, and “preserving and promoting the welfare of the child,” Schall v. Martin, 467 U.S. 253, 265

   (1984) (citation and quotation marks omitted). 18 The very existence of this dispute, and ongoing


   17
      It is evident that the states are engaged in thoughtful debate over this issue. See Skrmetti, 2023
   WL 6321688, at *6 (recognizing numerous state laws similar to those at issue restricting gender
   transition procedures for minors, as well as state laws providing various protections for those
   seeking treatment for gender dysphoria). The Sixth Circuit observed that most of this legislative
   activity has occurred within the last two years and that the “[f]ailure to allow these laws to go into
   effect would grind these all-over-the-map gears to halt.” Id.
   18
      “[I]t is well to remember that the most deeply rooted tradition in this country is that we look to
   democracy to answer pioneering public-policy questions, meaning that federal courts must resist
   the temptation to invoke an unenumerated guarantee to ‘substitute’ their views for those of
   legislatures.” Skrmetti, 2023 WL 6321688, at *7 (citing Dobbs, 142 S.Ct. at 2277).



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   thoughtful debate, is independent evidence that Plaintiffs are unlikely to establish that there is no

   rational basis for the legislature’s decision.

           B. Safeguarding Minors

           It is rational for the Oklahoma Legislature to regulate the Treatment Protocols for minors

   while the democratic process resolves ongoing questions of safety and efficacy. Courts have long

   recognized that states have a compelling interest in “safeguarding the physical and psychological

   well-being of [] minors.” New York v. Ferber, 458 U.S. 747, 756-57 (1982) (quoting Globe

   Newspaper, 457 U.S. at 607). For this reason, the judiciary has “sustained legislation aimed at

   protecting the physical and emotional well-being of youth even when the laws have operated in

   the sensitive area of constitutionally protected rights.”      Id. 19   Indeed, courts have upheld

   restrictions designed to protect and prevent minors from engaging in behaviors that are far less

   risky than the procedures banned by SB 613. See e.g., City of Dallas v. Stanglin, 490 U.S. 19, 28

   (1989) (upholding age restriction for dance halls based upon “the city’s interest in promoting the

   welfare of teenagers”). 20

           The Court could conclude that Plaintiffs’ challenge to SB 613 is unlikely to succeed based

   on nothing more than its own rational speculation, should it choose to do so. F.C.C. v. Beach



   19
      See, e.g., In re Hawley, 606 N.W.2d 50, 53 (1999) (decision to charge 15 year old, but not his
   13 year old partner, for conduct arising from the pair’s sexual relationship did not violate Equal
   Protection Clause because the difference in age was a “legitimate distinguishing factor” under the
   statutory scheme); Am. Ent’rs, L.L.C. v. City of Rocky Mount, N.C., 888 F.3d 707, 723 (4th Cir.
   2018) (confirming state’s interest in ensuring that sexually-oriented-business owners are of legal
   drinking age justified age-based restriction on ownership of such venues).
   20
       See also Qutb v. Strauss, 11 F.3d 488, 496 (5th Cir. 1993) (affirming curfew ordinance
   following strict scrutiny review); Rothner v. City of Chicago, 929 F.2d 297, 298 (7th Cir. 1991)
   (affirming ordinance prohibiting minors from playing video games during school hours); Blassman
   v. Markworth, 359 F. Supp. 1, 6 (N.D. Ill. 1973) (concluding state’s decision to set a minimum
   age for state and local officers was neither unreasonable nor irrational).


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   Commc’ns, Inc., 508 U.S. 307, 315 (1993) (noting that, on rational basis review, “legislative choice

   is not subject to courtroom fact-finding and may be based on rational speculation unsupported by

   evidence or empirical data”). But such speculation is not necessary, as there is ample record

   evidence to establish that SB 613 is rationally related to a legitimate state interest for at least four

   distinct reasons.

                1. Difference in Diagnoses

            It is undisputed that gender transition procedures address a psychological diagnosis, rather

   than a physiological one. See Dkt. No. 119-4 at 3 (concession by Plaintiffs’ expert that “[g]ender

   dysphoria is a psychiatric diagnosis”). A diagnosis of gender dysphoria depends upon “patients’

   reports of their symptoms,” rather than objective diagnostic criteria, and there is no evidence that

   a diagnosis of gender dysphoria can be confirmed by any objective measurement or testing

   protocol. Id. at 4; Dkt. No. 86-1 at 126-27 (distinguishing a medical diagnosis, which identifies

   the cause of a patient’s symptoms, and a psychiatric diagnosis, which labels the symptoms

   regardless of cause). The evidence demonstrates that a diagnosis of gender dysphoria is so tied to

   the patients’ subjective beliefs and psychological condition that it cannot be diagnosed over a

   patient’s objection. 21 This diagnosis is, therefore, readily distinguishable from the physiological




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        Dkt. No. 86-1 at 127.



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   conditions—including precocious puberty 22 and disorders of sexual development 23—that are

   specifically exempted from the statutory definition of “gender transition procedures.” It is entirely

   within the legislature’s purview to conclude that, while it may be appropriate for a minor to

   undergo hormone therapy and/or surgery to address a physiological condition, it is not appropriate

   for a minor to undergo such invasive procedures to treat a psychological one. 24

              2. Difference in Purpose and Risks

          Plaintiffs argue that the same Treatment Protocols are allowed for cisgender (or non-

   transgender) children but unfairly banned for transgender children. As an example, Plaintiffs

   suggest that cisgender children are allowed access to the Treatment Protocols for precocious

   puberty while transgender children are denied the Treatment Protocols. But this argument misses



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      Precocious puberty is a condition diagnosed by reference to objective facts and measurements,
   including the age of the patient, the existence of physical indicia that puberty has begun, and
   increased testosterone or estrogen production. Dkt. No. 86-2 at 11 (describing the stages of sexual
   development and the physical symptoms associated with each); id. at 17 (recognizing that the onset
   of puberty is associated with an increase in the production of sex hormones); id. at 22 (identifying
   ages with corresponding stages of pubertal development); Dkt. No. 86-3 at 16-17, 28 (describing
   physical changes and onset ages associated with Tanner Stage 2 of pubertal development). Minor
   patients being treated for the physiological condition of precocious puberty are therefore readily
   distinguishable from minor patients being treated for the psychological condition of gender
   dysphoria.
   23
       Dkt. No. 86-1 at 124 (describing disorders of sexual development as “physical medical
   disorders” which can be diagnosed using objective and verifiable criteria). A physical disorder of
   sexual development that can be observed or detected through objective means is not “like” a
   psychological diagnosis that cannot be ascertained in the absence of a subjective complaint.
   24
       Plaintiffs argue that neither the manner in which gender dysphoria is classified nor the
   subjectivity of the symptoms associated with that condition undermines the validity of a gender
   dysphoria diagnosis. Dkt. No. 119-4 at 4. This may be true, but this Court is not being asked
   whether gender dysphoria is a valid diagnosis; instead, the Court is being asked to determine
   whether the legislature has a rational basis for banning certain procedures for use in addressing
   gender dysphoria, but permitting those procedures to treat other, physiological conditions.
   Plaintiffs’ concession that gender dysphoria is a psychological diagnosis based upon patients’
   subjective reports of their symptoms is particularly salient to the latter question.



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   an important fact. Nothing in SB 613 bans the Treatment Protocols to treat any child for

   precocious puberty, a physiological malady, whether the child is cisgender or transgender.

   Conversely, the Treatment Protocols are banned to treat all children for gender dysphoria, a

   psychological condition.

          The evidence likewise demonstrates that minors who seek to undergo the Treatment

   Protocols for the purpose of affirming perceived gender face risks that are different and more

   extensive than those for minors who would use the same protocols for other diagnoses. Minors

   who undergo the Treatment Protocols for purposes of gender affirming care—in contrast to those

   who use the same protocols to treat precocious puberty—do so with the intent and effect of

   undergoing puberty later than it would be physically appropriate to do so. These are different

   treatments with different purposes. As a result, the risks are very different. See Dkt. No. 86-1 at

   36 (recognizing that the “use of puberty blockers to treat precocious puberty avoids the medical

   risks caused by undergoing puberty growth before the body is ready,” while the use of the same

   medication on “patients already at their natural puberty pushes them away from the mean age of

   the healthy population”).

          Undergoing puberty later than the typical range of pubertal onset carries a range of risks,

   including impaired brain development 25 and poorer psychosocial and educational development. 26



   25
       See Dkt. No. 86-1 at 99-100 (recognizing an association of brain development with age of
   pubertal onset, a correlation between the administration of GnRH-agonists and a decrease in brain
   activity and cognitive performance, and concerns that “blocking the process of puberty during its
   natural time could have a negative and potentially permanent impact on brain development”); Dkt.
   No. 86-2 at 25 (acknowledging that sex hormones can influence the development and maturation
   of the human brain); Dkt. No. 86-3 at 7.
   26
       See Dkt. No. 86-1 at 101 (recognizing that “[u]ndergoing puberty much later than one’s peers
   is also associated with poorer psychosocial functioning and lesser educational achievement”); Dkt.
   No. 86-2 at 25 (noting the importance of peer relationships during adolescence and recognizing
   that one reason for treating precocious puberty with puberty blockers is the generally accepted


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   Minors who undergo the Treatment Protocols to delay puberty for gender-transition purposes take

   on these risks (whether knowingly or unknowingly); those who use the same protocols for the

   purpose of undergoing puberty at an age-appropriate time, in contrast, attempt to avoid them. Dkt.

   No. 86-1 at 36; Dkt. No. 86-2 at 18, 22; Dkt. No. 86-4 at 9-10. This is a rational basis for the

   legislature’s decision.

              3. Difference in Length of Use

          The risks associated with the Treatment Protocols also vary depending upon when and for

   how long they are administered. For example, the evidence suggests that puberty blockers

   negatively impact a child’s ability to increase his or her bone density. See Dkt. 86-1 at 102; Dkt.

   No. 86-2 at 22-24. A minor who is prescribed puberty blockers during the teen years, when bone

   density “typically surges by about 8 to 12 percent a year,” faces a different—and more serious—

   risk than a minor with precocious puberty whose body is not in a similar stage of growth. Dkt.

   No. 86-1 at 102; see Dkt. No. 86-2 at 22-23 (recognizing that peak bone mass is achieved in the

   early to late twenties for both males and females, and that “factors which lead to a lowering of

   peak bone mass will predispose a person to future osteoporosis”). 27

          Similarly, a five-year-old who undergoes pubertal suppression will delay—for a time—

   sexual development until his or her body is able to withstand the changes associated with puberty,

   at which point puberty will be allowed to resume; a child administered puberty blockers during

   adolescence, by contrast, will inhibit puberty at the precise time his or her body should be



   understanding in endocrinology that “there are psychological benefits to adolescents who go
   through puberty around the same time as their peers”).
   27
     See also id. at 23-24, Fig. 2 (discussing impact on puberty blocking medication on bone density
   and opining that any pause in normal puberty introduces a risk of inability to obtain peak bone
   density and creates a risk of osteoporosis, serious fractures, and impairment of bone growth).



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   undergoing those same changes. See Dkt. No. 86-2 at 21-22. Individuals in the latter group “will

   continue their chronological age progression toward adulthood and yet remain with

   underdeveloped genitalia,” will immediately experience infertility, 28 and will run the risk of

   masking developmental milestones that, by their presence or absence, would give medical

   practitioners insight as to the individuals’ overall health. Dkt. No. 86-2 at 22; Dkt. No. 86-3 at 39

   (recognizing that puberty blockers, if administered at Tanner Stage 2, “makes the full maturation

   of the gametes impossible”); Dkt. No. 86-3 at 39 (noting that suppressing pubertal development

   masks the onset of the menstrual cycle, the absence of which can be indicative of underlying

   physiological diseases).    The legislature’s decision can readily be construed as a rational

   determination that the risks associated with minors’ short-term use of the Treatment Protocols to

   treat precocious puberty are warranted, while the risks associated with minors’ long-term (and

   often permanent) 29 use of the Treatment Protocols for gender dysphoria are not.

              4. Difference in Intent

          Finally, the legislature’s decision to ban the Treatment Protocols solely for certain purposes

   is warranted by the fact that the Treatment Protocols are permitted for those who seek to align their

   bodies with the development they would undergo without being in a diseased or disordered state,

   but not for those who seek to force their bodies out of alignment with such development. When

   used to treat endocrine disorders, the Treatment Protocols bring the patient’s body back into the

   hormonal states they would have been in but for the disorder. See Dkt. No. 86-2 at 12. When used



   28
      While there is potential for this infertility to be transient, there appears to be scant information
   concerning the impact of the long-term use of puberty blockers. See Dkt. No. 86-2 at 20, n.5.
   29
      See Dkt. 86-2 at 26 (recognizing that the use of puberty blockers has altered natural desistance
   rates, such that puberty blockers, rather than operating as a “pause button,” are instead a “pathway
   towards future sterilizing surgeries”).



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   to treat precocious puberty, the Treatment Protocols allow the patient’s body to go through puberty

   at the appropriate time, rather than at an unhealthy time. Dkt. No. 86-1 at 105. When used to treat

   a disorder of sexual development, the Treatment Protocols are used to correct a diagnosable

   condition that occurred “on the way to binary sex development.” Dkt. No. 86-2 at 9. When,

   however, the Treatment Protocols are used to treat gender dysphoria, they have the effect of

   pushing the body out of alignment with the natural developmental process to permit the

   individual’s cosmetic appearance to align with his or her perception. See Dkt. No. 86-1 at 36.

   Plaintiffs themselves acknowledge that the goal of the Treatment Protocols is not to cure the state

   of being transgendered. See Dkt. No. 6 at 8 (“Being transgender is not itself a condition to be

   cured.”); Dkt. No. 6-2 at 11 (“[B]eing transgender or gender nonconforming is not a medical

   condition or pathology to be treated.”). Accord Dkt. No. 86-3 at 7 (“[I]dentifying as transgender .

   . . is not a pathological condition (i.e., it is not caused by or considered to be a disease.”). The

   legislature’s decision to permit minors to have access to the Treatment Protocols for medical

   disorders that can be cured or corrected, but not to permit those same protocols (with greater

   associated risk) to treat a condition for which no “cure” is sought, is a rational one.

          In sum, “states have a compelling interest in and a solemn duty to protect the lives and

   health of the children within their borders.” Jensen, 603 F.3d at 1198. Where there is robust

   debate concerning whether that interest warrants authorizing a particular medical procedure for a

   minor child, the debate is best left in the hands of the legislature. Judicial deference is especially

   appropriate where “medical and scientific uncertainty” exists. Gonzalez v. Carhart, 550 U.S. 124,

   163 (2007). It is certainly not the judiciary’s role to cut into that thoughtful debate and decree that




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   one side has the right of it, and the Court declines Plaintiffs’ invitation to make such a decree. 30

   As evidenced by the ongoing debate on this issue, Plaintiffs stand little chance of prevailing on

   their claim under the rational basis standard, and their motion for injunctive relief is therefore

   DENIED.

                                             CONCLUSION

          As to equal protection, SB 613 is not an outright ban on gender affirming care. Nor is it a

   bill that has the intent or effect of enforcing stereotypical gender norms or discriminating against

   those who do not conform to those norms. Instead, SB 613 requires only that, to the extent an

   individual desires to utilize certain physiological procedures to treat the psychological condition

   of gender dysphoria, he or she must wait until a certain age to do so. See Kimel v. Fla. Bd. of

   Regents, 528 U.S. 62, 83 (2000) (recognizing that states “may discriminate on the basis of age

   without offending the Fourteenth Amendment if the age classification in question is rationally

   related to a legitimate state interest”). This permissible, age-based restriction is subject only to

   rational basis review, which is easily satisfied by at least the four alternative grounds identified by

   the Court in Section VI.B., supra. Given the state of the record, the Court concludes that Plaintiffs

   have failed to establish that they are likely to prevail on their claim that there is no rational basis

   for the legitimate, age-based distinction made by the legislature.

          As to substantive due process, SB 613 is rationally related to legitimate state interests

   because it regulates parental decision-making as to the Treatment Protocols based on the



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      The Court’s determination that the legislature has a rational basis for the exercise of caution in
   this realm should not be interpreted as a lack of concern for Plaintiffs or any minor experiencing
   real psychological suffering. It should be apparent there is deep concern for the well-being of the
   children in this state, such that the legislature has determined caution is warranted given the
   magnitude of risks involved and the lack of medical and scientific evidence to support the would-
   be experimental treatment of gender dysphoria by use of the Treatment Protocols.



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   legislature’s interests in protecting children, public health, and integrity of the medical profession.

   This an area in which medical and policy debate is unfolding and the Oklahoma Legislature can

   rationally take the side of caution before permitting irreversible medical treatments of its children.

   As the Eleventh Circuit explained:

          This case revolves around an issue that is surely of the utmost importance to all of
          the parties involved: the safety and well-being of the children of [our state]. But it
          is complicated by the fact that there is a strong disagreement between the parties
          over what is best for those children. Absent a constitutional mandate to the
          contrary, these types of issues are quintessentially the sort that our system of
          government reserves to legislative, not judicial, action.

   Eknes-Tucker, 80 F.4th at 1231. Plaintiffs have not demonstrated a likelihood of success on the

   merits of their substantive due process claim.

          Because Plaintiffs have failed to show a likelihood of success on the merits of each of their

   constitutional claims, their request for injunctive relief must be denied. State v. U.S. Env’t Prot.

   Agency, 989 F.3d 874, 890 (10th Cir. 2021) (recognizing that where the failure to satisfy one

   requisite factor for obtaining preliminary injunctive relief is dispositive, a court “need not consider

   the other factors”).

          IT IS THEREFORE ORDERED that Plaintiffs’ motion for preliminary injunction [Dkt.

   No. 5] is DENIED.

          Dated this 5th day of October 2023.




                                                          JOHN F. HEIL, III
                                                          UNITED STATES DISTRICT JUDGE




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